Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 1 of
                                     43




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT 2
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 2 of
                                     43
                                               TINA PETERS - November 7, 2022

                                                      Page 1                                                  Page 3
    1              IN THE UNITED STATES DISTRICT COURT          1   APPEARANCES: (cont'd)
    2                    FOR THE DISTRICT OF COLORADO           2
    3   Civil Action No. 1:22-cv-01129-WJM                      3   APPEARING ON BEHALF OF THE DEPONENT:
        ___________________________________________________
    4                                                           4   GESSLER BLUE LLC
        VIDEOTAPED DEPOSITION OF TINA PETERS                        Scott E. Gessler, Esq.
    5                                                           5   7350 East Progress Place
                                     November 7, 2022               Suite 100
    6   ___________________________________________________     6   Greenwood Village, Colorado 80111
                                                                    Email: sgessler@gesslerblue.com
    7   ERIC COOMER, PH.D.,                                     7
                                                                    and
    8         Plaintiff,                                        8
                                                                    SPRINGER & STEINBERG, PC
    9   vs.                                                     9   Stephen F. Prager, Esq.
                                                                    1600 Broadway Street
   10   MICHAEL J. LINDELL, FRANKSPEECH LLC, AND MY PILLOW,    10   Suite 1200
        INC.,                                                       Denver, Colorado 80202
   11                                                          11   (via videoconference)
              Defendants.
   12   ___________________________________________________    12
   13                                                          13
   14                                                          14
   15              Pursuant to Notice and the Colorado Rules   15   Also Present: Jeremy Signorini, Videographer
   16   of Civil Procedure, the videotaped deposition of       16                Jared Cowart
   17   TINA PETERS, called by Plaintiff, was taken on         17
   18   Monday, November 7, 2022, commencing at 10:19 a.m.,    18
   19   at Hotel Maverick, 840 Kennedy Avenue, Grand           19
   20   Junction, Colorado, before Candice F. Flowers,         20
   21   Certified Shorthand Reporter and Notary Public         21
   22   within and for the State of Colorado.                  22
   23                                                          23
   24                                                          24
   25                                                          25

                                                   Page 2                                                     Page 4
    1   APPEARANCES:                                            1                       INDEX
    2                                                           2                                              PAGE
                                                                    EXAMINATION OF TINA PETERS
    3   APPEARING ON BEHALF OF PLAINTIFF:                       3
                                                                    By Mr. Cain                6
    4   CAIN & SKARNULIS PLLC                                   4
        Charles J. Cain, Esq.                                       By Mr. Kloewer                --
    5   Bradley A. Kloewer, Esq.                                5
        101 North F Street, Suite 207                               By Mr. Rogers                --
    6   P.O. Box 1064                                           6
        Salida, Colorado 81201                                      By Mr. Malone                --
    7   Email: ccain@cstrial.com                                7
        Email: bkloewer@cstrial.com                                 By Mr. Kibort              --
    8                                                           8
        and                                                         By Mr. Gessler               --
    9                                                           9
        RECHT KORNFELD PC                                           By Mr. Prager               --
   10   Trey Rogers, Esq.                                      10
        1600 Stout Street
   11   Suite 1400                                             11
        Denver, Colorado 80202
   12   Email: trey@rklawpc.com                                12
        (via videoconference)
   13                                                          13
   14   APPEARING ON BEHALF OF DEFENDANTS:                     14   EXHIBITS                 INITIAL REFERENCE
   15   PARKER DANIELS KIBORT                                  15   Exhibit 1 Subpoena                   14
        Ryan Malone, Esq.
   16   Jesse H. Kibort, Esq.                                  16   Exhibit 2 Screenshot of Twitter exchange     40
        888 Colwell Building
   17   123 North Third Street                                 17   Exhibit 3 USB drive of video clips       50
        Minneapolis, Minnesota 55401
   18   Email: malone@parkerdk.com                             18   Exhibit 4 Report by Daniel P. Rubinstein    118
        Email: kibort@parkerdk.com
   19   (via videoconference)                                  19
   20                                                          20
   21                                                          21
   22                                                          22
   23                                                          23
   24                                                          24
   25                                                          25

                                       Western Colorado Court Reporting (970)778-5711                       (1) Pages 1 - 4
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 3 of
                                     43
                                               TINA PETERS - November 7, 2022

                                                       Page 5                                                     Page 7
    1                    PROCEEDI NGS                            1        A     I was with the --
    2              THE VIDEOGRAPHER: We are on the record        2              MR. PRAGER: Objection. I'm instructing
    3   at 10:19 a.m. Today is November 7, 2022. This            3   my client not to answer based on her Fifth
    4   begins the videotaped deposition of Tina Peters.         4   Amendment privilege.
    5   This is Case No. 1:22-cv-01129-WJM filed in the          5              THE DEPONENT: Thank you.
    6   United States District Court for the District of         6        A     I take the advice of my counsel.
    7   Colorado, taken by the plaintiff in the matter of        7        Q (By Mr. Cain) All right. Let's do this
    8   Eric Coomer, Ph.D. versus Michael J. Lindell,            8   before we get too much further, Ms. Peters.
    9   FrankSpeech LLC, and MyPillow, Inc.                      9              MR. CAIN: First of all, who was the
   10              We are located at Hotel Maverick, 840        10   lawyer that just made the objection?
   11   Kennedy Avenue, Grand Junction, Colorado 81510.         11              MR. PRAGER: Steve Prager.
   12   The court reporter is Candice Flowers. The              12              MR. CAIN: Mr. Prager, have you made an
   13   videographer is Jeremy Signorini.                       13   appearance in this case?
   14              Counsel will introduce themselves and the    14              MR. PRAGER: In the -- no, I have not --
   15   parties they represent beginning with plaintiff's       15   excuse me. No, I have not.
   16   counsel first.                                          16              MR. CAIN: Are you going to file an
   17              MR. CAIN: Charlie Cain and Brad Kloewer      17   appearance in the case?
   18   on behalf of the plaintiff.                             18              MR. PRAGER: I'll have to speak to
   19              MR. MALONE: Ryan Malone and Jesse Kibort     19   Mr. Steinberg about that.
   20   on behalf of all defendants.                            20              MR. CAIN: Well, I need to know who's
   21              MR. PRAGER: Steve Prager on behalf of        21   going to be asserting objections on behalf of the
   22   the witness, Ms. Peters.                                22   witness. If you're not representing a party in the
   23              MR. GESSLER: Scott Gessler on behalf of      23   case and you're not counsel of record and you
   24   Ms. Peters as well.                                     24   haven't made an appearance in the case, then why
   25              THE VIDEOGRAPHER: Is that everybody?         25   are you making objections in this deposition?

                                                       Page 6                                                     Page 8
    1               MR. ROGERS: Trey Rogers on behalf of the     1              MR. GESSLER: He and I both represent
    2   plaintiff also.                                          2   Tina Peters.
    3               THE VIDEOGRAPHER: Will the court             3              THE DEPONENT: That's right.
    4   reporter please swear in the witness.                    4              MR. GESSLER: We don't have to enter an
    5                          TINA PETERS,                      5   appearance into a case in order to represent a
    6   having been first duly sworn to state the whole          6   deponent.
    7   truth, testified as follows:                             7              MR. CAIN: So, Mr. Prager, you're
    8                           EXAMINATION                      8   representing Ms. Peters here today as well?
    9   BY MR. CAIN:                                             9              MR. PRAGER: Yes.
   10         Q     Good morning, Ms. Peters. How are you?      10              MR. CAIN: Okay. Who's going to be
   11         A     Good morning. Perfect.                      11   making the objections?
   12         Q     Can you state your full name, please.       12              MR. GESSLER: Steve, I'll make the
   13         A     Tina Marie Peters.                          13   objections, okay?
   14         Q     I met you, I think, about three minutes     14              MR. PRAGER: Okay.
   15   ago for the first time; is that right?                  15              MR. CAIN: And if there is -- if you-all
   16         A     That's right.                               16   don't mind on the Zoom, if you do have something to
   17         Q     Have you given sworn testimony before?      17   say, please identify yourself before you make your
   18         A     I have.                                     18   statement just so we know who's talking.
   19         Q     On how many occasions?                      19         Q (By Mr. Cain) Okay. So I asked you about
   20         A     Let's see. I don't recall.                  20   a deposition on Thursday and you've asserted the
   21         Q     Approximately.                              21   Fifth Amendment privilege, correct?
   22         A     I don't recall.                             22         A    That's right.
   23         Q     When was the last time?                     23         Q    All right. Before we get too much
   24         A     On Thursday.                                24   further into this, we neglected, when we did
   25         Q     In what matter?                             25   announcements, to recognize a gentleman I'm looking

                                       Western Colorado Court Reporting (970)778-5711                        (2) Pages 5 - 8
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 4 of
                                     43
                                              TINA PETERS - November 7, 2022

                                                     Page 9                                                      Page 11
    1   at right now who appears to be security for you; is     1               MR. GESSLER: I'm going to advise my
    2   that right?                                             2   client to decline to answer that question on Fifth
    3               MR. GESSLER: I'll advise my client not      3   Amendment grounds.
    4   to -- to decline to answer based on Fifth Amendment     4         Q (By Mr. Cain) Ma'am, if you don't answer
    5   grounds. I'm happy to say, yes, he is serving as        5   a question when he gives you that advice, is it
    6   security for Ms. Peters.                                6   safe for me to assume that you're going to agree
    7          Q (By Mr. Cain) And then there's a -- looks      7   with your counsel's advice so we don't have to go
    8   like a dog.                                             8   through that every time?
    9               Is that your dog here?                      9         A     That's correct.
   10               MR. GESSLER: I'll advise my client not     10         Q     Okay. So he's invoking the Fifth
   11   to answer on Fifth Amendment grounds. It is his        11   Amendment privilege on your behalf.
   12   security dog.                                          12         A     That's correct.
   13          Q (By Mr. Cain) Okay. Before we started         13         Q     And you're okay with that?
   14   this deposition, we had an agreement and I will put    14         A     I'm very much okay with that.
   15   it on the record, ma'am. I spoke to your counsel,      15         Q     All right. Are you taking any medication
   16   but in my view, security is not an appropriate         16   or any substance today that would affect your
   17   person to be in the room in a deposition. The          17   ability to give truthful testimony?
   18   rules state who can be here and who cannot, and he     18               MR. GESSLER: So I'm going to advise my
   19   ain't one of them.                                     19   client to decline to answer that question on Fifth
   20               That said, we agreed -- because you had    20   Amendment grounds.
   21   indicated you would leave -- that he could be in       21         Q (By Mr. Cain) Have you spoken to anybody
   22   the room sitting out back behind you, at least for     22   other than your lawyer -- I should say, plural,
   23   the time that you're in this room.                     23   lawyers since we have Mr. Prager on the line?
   24               Do you understand that? That's our         24               Have you spoken to anybody other than
   25   agreement.                                             25   your lawyers about your testimony here today?

                                                     Page 10                                                    Page 12
    1              MR. GESSLER: This is our agreement. I        1              MR. GESSLER: And I'll advise my client
    2   can advise you that that is an agreement we've had.     2   to decline to answer that question on Fifth
    3              THE DEPONENT: Okay. Thank you.               3   Amendment grounds.
    4        Q (By Mr. Cain) All right. So you said you         4        Q (By Mr. Cain) When is the last time you
    5   were in a deposition last Thursday. You've              5   spoke to Mike Lindell?
    6   asserted privilege on that.                             6              MR. GESSLER: And I'll advise my client
    7              The question on the table, though, ma'am,    7   to decline to answer that question on Fifth
    8   was: How many depositions have you given? And you       8   Amendment grounds.
    9   indicated you couldn't recall all of them.              9        Q (By Mr. Cain) Did you discuss your
   10        A     I've answered that question. Thank you.     10   deposition testimony with Mr. Lindell at any time?
   11        Q     Prior to the Thursday deposition, what      11              MR. GESSLER: And I'll advise my client
   12   was the last time -- or when was the last time, I      12   to decline to answer that question on Fifth
   13   should say, you were deposed?                          13   Amendment grounds.
   14              MR. GESSLER: So I'm going to advise my      14        Q (By Mr. Cain) How about Mr. Oltmann, did
   15   client to decline to answer that question on Fifth     15   you discuss the fact that you were giving
   16   Amendment grounds.                                     16   deposition testimony in this case with Joe Oltmann?
   17              MR. CAIN: Counsel --                        17              MR. GESSLER: I'll advise my client to
   18        Q (By Mr. Cain) I'm sure you've had some          18   decline to answer that question on Fifth Amendment
   19   time to prepare to give testimony today; is that       19   grounds.
   20   right?                                                 20        Q (By Mr. Cain) When's the last time you
   21              MR. GESSLER: I'm going to advise my         21   spoke to Mr. Oltmann?
   22   client to decline to answer that question on Fifth     22              MR. GESSLER: I'll advise my client to
   23   Amendment grounds as well.                             23   decline to answer that question on Fifth Amendment
   24        Q (By Mr. Cain) Did you meet with your            24   grounds.
   25   lawyer to prepare? Mr. Gessler?                        25        Q (By Mr. Cain) Who's paying for your

                                       Western Colorado Court Reporting (970)778-5711                       (3) Pages 9 - 12
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 5 of
                                     43
                                               TINA PETERS - November 7, 2022

                                                     Page 13                                                       Page 15
    1   lawyer to be here?                                        1              MR. GESSLER: I'll advise my client to
    2              MR. GESSLER: I'll advise my client to          2   decline to answer on Fifth Amendment grounds.
    3   decline to answer that question on Fifth Amendment        3         Q (By Mr. Cain) You do remember being
    4   grounds.                                                  4   served out at the courthouse with the deposition
    5        Q (By Mr. Cain) Is Mr. Lindell paying for            5   subpoena, don't you?
    6   any part of your defense, either the criminal             6              MR. GESSLER: I'll advise my client to
    7   defense or your lawyer being here in this civil           7   decline to answer on Fifth Amendment grounds.
    8   case?                                                     8         Q (By Mr. Cain) In fact, didn't you go on
    9              MR. GESSLER: I'll advise my client to          9   Lindell TV shortly thereafter to explain the
   10   decline to answer on Fifth Amendment grounds.            10   service of this subpoena to Brannon Howse?
   11        Q (By Mr. Cain) Have you understood all of          11              MR. GESSLER: I'll advise my client to
   12   my questions to this point in the deposition?            12   decline to answer on Fifth Amendment grounds.
   13              MR. GESSLER: I'll advise my client to         13         Q (By Mr. Cain) When you got the subpoena,
   14   decline to answer on Fifth Amendment grounds.            14   a return of which has been filed indicating you
   15        Q (By Mr. Cain) Has Mike Lindell paid you           15   were served, did you review the requirements on
   16   any consideration, either nonmonetary consideration      16   Page 3 as to what your obligations were to respond
   17   or actual consideration, since November 2020?            17   to the subpoena?
   18              MR. GESSLER: I'll advise my client to         18              MR. GESSLER: I'll advise my client to
   19   decline to answer on Fifth Amendment grounds.            19   decline to answer on Fifth Amendment grounds.
   20        Q (By Mr. Cain) You were served with a              20         Q (By Mr. Cain) Did you file with the
   21   subpoena to be here, weren't you?                        21   federal court that this case is pending any
   22              MR. GESSLER: I'll advise my client to         22   objections to the request that we made of you to
   23   decline to answer on Fifth Amendment grounds.            23   bring documents with you here today?
   24        Q (By Mr. Cain) Let's do this. Candice is           24              MR. GESSLER: I'll advise my client to
   25   our court reporter. I don't know if you had a            25   decline to answer on Fifth Amendment grounds.

                                                       Page 14                                                      Page 16
    1   chance to introduce yourself to her. She's taking         1         Q (By Mr. Cain) Did you file a motion or
    2   down everything you're not saying. I'm going to           2   have -- cause your counsel to file a motion to
    3   have her give you some documents, ma'am. There            3   quash or otherwise modify this subpoena?
    4   aren't many. But I want to take a look at a few           4              MR. GESSLER: I'll advise my client to
    5   with you during the course of your deposition.            5   decline to answer on Fifth Amendment grounds.
    6                The first is going to be the subpoena        6         Q (By Mr. Cain) Did you review this
    7   that I just referenced. It will be marked as              7   document, ma'am, and look at what your duties are
    8   Exhibit 1.                                                8   in responding to this subpoena?
    9                (Exhibit 1 was marked.)                      9              MR. GESSLER: I'll advise my client to
   10                MR. MALONE: This is Ryan Malone. Would      10   decline to answer on Fifth Amendment grounds.
   11   it be possible to do some sort of a screen share so      11         Q (By Mr. Cain) According to the rule
   12   that we can view this exhibit as well?                   12   that's cited here, a party responding to a subpoena
   13                MR. CAIN: Unfortunately, no. We didn't      13   must produce responsive documents as they are kept
   14   upload them because it wasn't a Zoom deposition.         14   in the ordinary course of your business.
   15   Ryan, we'll have a few deposition exhibits but not       15              Have you produced any documents to us
   16   many because we didn't get much in the way of            16   here today?
   17   production to this point. This one I'll just             17              MR. GESSLER: I'll advise my client to
   18   advise you is the -- was filed with the court.           18   decline to answer on Fifth Amendment grounds.
   19   It's a copy of the subpoena duces tecum for -- for       19         Q (By Mr. Cain) Ma'am, when you got the
   20   Ms. Peters today, so it should be in the court           20   subpoena, did you go to the -- looks like it's the
   21   file.                                                    21   last page. Can you turn to the last page with me,
   22                MR. MALONE: Understood. Thank you.          22   please. This is the last page of Exhibit 1.
   23          Q (By Mr. Cain) Is this a copy of the             23              Do you see where it says "Documents
   24   subpoena that was served on you on or about              24   Requested" up top?
   25   September 7th of this year?                              25              MR. GESSLER: I'll advise my client to

                                        Western Colorado Court Reporting (970)778-5711                        (4) Pages 13 - 16
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 6 of
                                     43
                                              TINA PETERS - November 7, 2022

                                                     Page 17                                                     Page 19
    1   decline to answer on Fifth Amendment grounds.           1   anybody associated with FrankSpeech or MyPillow
    2         Q (By Mr. Cain) When you got the subpoena,        2   since you were served with the subpoena?
    3   did you review the eight categories of documents        3               MR. GESSLER: I'll advise my client to --
    4   that we requested you provide to us?                    4               THE DEPONENT: May I have a tissue?
    5              MR. GESSLER: I'll advise my client to        5               MR. CAIN: Of course.
    6   decline to answer on Fifth Amendment grounds.           6               MR. GESSLER: I'll advise my client
    7         Q (By Mr. Cain) Ma'am, No. 1 indicates that       7   to decline to answer on Fifth Amendment grounds.
    8   we requested that you produce all written               8         Q (By Mr. Cain) Are you ready?
    9   communications between you and Lindell,                 9         A     Uh-huh.
   10   FrankSpeech, or MyPillow between January 1, 2020       10         Q     All right. Document Request No. 2, do
   11   and the present, including, but not limited to, all    11   you see that?
   12   written communications relating to Dr. Coomer or       12               MR. GESSLER: I'll advise my client to
   13   Dominion Voting Systems.                               13   decline to answer on Fifth Amendment grounds.
   14              Have you produced any communications with   14         Q (By Mr. Cain) Is this the first time
   15   Mike Lindell today?                                    15   you're looking at Document Exhibit Request No. 2?
   16              MR. GESSLER: I'll advise my client to       16               MR. GESSLER: I'll advise my client to
   17   decline to answer on Fifth Amendment grounds.          17   decline to answer on Fifth Amendment grounds.
   18         Q (By Mr. Cain) Do communications between        18         Q (By Mr. Cain) This request, ma'am, is for
   19   you and Mike Lindell exist? And by -- before he        19   all written communications between you and Joseph
   20   says something, by "communications," I mean, for       20   Oltmann between January 1, 2020 and the present,
   21   example, text messages or e-mails.                     21   including, but not limited to, all written
   22              MR. GESSLER: I'll advise my client to       22   communications discussing Dr. Coomer or Dominion
   23   decline to answer on Fifth Amendment grounds.          23   Voting Systems.
   24         Q (By Mr. Cain) Do you communicate with          24               Do any such documents exist?
   25   Mr. Lindell via a messaging app?                       25               MR. GESSLER: I'll advise my client to

                                                     Page 18                                                         Page 20
    1              MR. GESSLER: I'll advise my client to        1   decline to answer on Fifth Amendment grounds.
    2   decline to answer on Fifth Amendment grounds.           2        Q (By Mr. Cain) Do you have any text
    3         Q (By Mr. Cain) Do you have a text                3   messages with Joe Oltmann during this time period?
    4   messaging account?                                      4              MR. GESSLER: I'll advise my client to
    5              MR. GESSLER: I'll advise my client to        5   decline to answer on Fifth Amendment grounds.
    6   decline to answer on Fifth Amendment grounds.           6        Q (By Mr. Cain) Do you back up any of your
    7         Q (By Mr. Cain) Do you carry -- do you have       7   communications on the cloud?
    8   a cell phone with you here today?                       8              MR. GESSLER: I'll advise my client to
    9              MR. GESSLER: I'll advise my client to        9   decline to answer on Fifth Amendment grounds.
   10   decline to answer on Fifth Amendment grounds.          10        Q (By Mr. Cain) Request No. 3, ma'am, can
   11         Q (By Mr. Cain) What -- what is your cell        11   you look at that with me. This one requests all
   12   phone number?                                          12   documents and communications authored, sent, or
   13              MR. GESSLER: I'll advise my client to       13   received by you relating to concerns about the
   14   decline to answer on Fifth Amendment grounds.          14   accuracy, reliability, verifiability -- that's a
   15         Q (By Mr. Cain) Have you had the same cell       15   mouthful -- or truthfulness of the information
   16   phone since the election in November of 2020?          16   published during the cyber symposium.
   17              MR. GESSLER: I'll advise my client to       17              Did you bring any documents that are
   18   decline to answer on Fifth Amendment grounds.          18   responsive to Request No. 3 with you here today?
   19         Q (By Mr. Cain) Who's your provider? Who         19              MR. GESSLER: I'll advise my client to
   20   provides the service for a cell phone if you have      20   decline to answer on Fifth Amendment grounds.
   21   one?                                                   21        Q (By Mr. Cain) Who did you communicate
   22              MR. GESSLER: I'll advise my client to       22   with via text messaging or a similar app during the
   23   decline to answer on Fifth Amendment grounds.          23   Lindell cyber symposium?
   24         Q (By Mr. Cain) Have you deleted any             24              MR. GESSLER: I'll advise my client to
   25   communications between yourself and Mr. Lindell or     25   decline to answer on Fifth Amendment grounds.

                                       Western Colorado Court Reporting (970)778-5711                         (5) Pages 17 - 20
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 7 of
                                     43
                                                 TINA PETERS - November 7, 2022

                                                       Page 21                                                        Page 23
    1         Q (By Mr. Cain) How did you communicate             1              Ma'am, the documents that I've, I guess,
    2   with individuals associated with that cyber               2   generically described, I should say, has an e-mail
    3   symposium, either through e-mail or text or               3   address from MyPillow to tm.peters@live.com.
    4   otherwise? How did you do that?                           4              Is that your personal e-mail address?
    5              MR. GESSLER: I'll advise my client to          5              MR. GESSLER: I'll advise my client to
    6   decline to answer on Fifth Amendment grounds.             6   decline to answer on Fifth Amendment grounds.
    7         Q (By Mr. Cain) I did receive a link that           7         Q (By Mr. Cain) Do you have any other
    8   indicated that there was -- were some documents           8   potential e-mail addresses, other than
    9   that were produced to us shortly before this              9   tm.peters@live.com?
   10   deposition. It looks, to me, like -- I'll just           10              MR. GESSLER: I'll advise my client to
   11   make this representation to counsel and everyone         11   decline to answer on Fifth Amendment grounds.
   12   else, including the dog, that we got 20 e-mails          12         Q (By Mr. Cain) You do not have access, do
   13   that appear to be either promotional e-mails for         13   you, as you sit here, to the County Clerk e-mail
   14   MyPillow or some orders with MyPillow. For               14   that you would have had while you were actively
   15   example, you appeared to order some slippers at one      15   serving as the County Clerk, do you?
   16   point, moccasins perhaps.                                16              MR. GESSLER: I'll advise my client to
   17              Did you -- did you gather this                17   decline to answer on Fifth Amendment grounds.
   18   information as a result of receiving this subpoena       18         Q (By Mr. Cain) In other words, you can't
   19   and provide it to your counsel?                          19   log on to your County e-mail address at this point,
   20              MR. GESSLER: I'll advise my client to         20   can you?
   21   decline to answer on Fifth Amendment grounds.            21              MR. GESSLER: I'll advise my client to
   22         Q (By Mr. Cain) Do you know why we have            22   decline to answer on Fifth Amendment grounds.
   23   promotional material in response to the subpoena we      23         Q (By Mr. Cain) Directing you back to
   24   issued?                                                  24   Exhibit No. 1, Request No. 4, it's a little longer
   25              MR. GESSLER: I'll advise my client to         25   request so I'm going to pare it down. But

                                                       Page 22                                                   Page 24
    1   decline to answer on Fifth Amendment grounds.             1   essentially it's requesting communications between
    2          Q (By Mr. Cain) Have you ever been on              2   you and what they called the Red Team at the cyber
    3   Mr. Lindell's payroll?                                    3   symposium, and then we indicated members of those
    4                MR. GESSLER: I'll advise my client to        4   teams including Phil Waldron, Doug Logan, Conan
    5   decline to answer on Fifth Amendment grounds.             5   Hayes, Ron Watkins, Mark Cook, Shawn Smith, Lisa
    6          Q (By Mr. Cain) And I touched on this a            6   Draza and/or Joe Oltmann between October 1, 2020
    7   little earlier. I want to make sure I get a --            7   and the present. So we're asking you for
    8   hopefully a response.                                     8   communications between you, if any, and those
    9                How many times have you flown on his         9   individuals.
   10   private airplane to go to events like the cyber          10              Did you bring any such communications or
   11   symposium?                                               11   copies of documents, electronic records, that would
   12                MR. GESSLER: I'll advise my client to       12   be responsive to Request No. 4?
   13   decline to answer on Fifth Amendment grounds.            13              MR. GESSLER: I'll advise my client to
   14          Q (By Mr. Cain) Did he fly you to Texas           14   decline to answer on Fifth Amendment grounds.
   15   after the cyber symposium?                               15        Q (By Mr. Cain) When's the last time you
   16                MR. GESSLER: I'll advise my client to       16   talked to Conan Hayes?
   17   decline to answer on Fifth Amendment grounds.            17              MR. GESSLER: I'll advise my client to
   18          Q (By Mr. Cain) Has he put you up either in       18   decline to answer on Fifth Amendment grounds.
   19   one of the properties he owns or paid -- paid for        19        Q (By Mr. Cain) Have you ever spoken to
   20   you to stay somewhere other than your residence?         20   Phil Waldron?
   21                MR. GESSLER: I'll advise my client to       21              MR. GESSLER: I'll advise my client to
   22   decline to answer on Fifth Amendment grounds.            22   decline to answer on Fifth Amendment grounds.
   23          Q (By Mr. Cain) Bear with me, ma'am, just a       23        Q (By Mr. Cain) Do you know Ron Watkins?
   24   minute. I'm looking at the documents that we did         24              MR. GESSLER: I'll advise my client to
   25   get.                                                     25   decline to answer on Fifth Amendment grounds.

                                         Western Colorado Court Reporting (970)778-5711                         (6) Pages 21 - 24
                                              www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 8 of
                                     43
                                                  TINA PETERS - November 7, 2022

                                                          Page 25                                                     Page 27
    1         Q (By Mr. Cain) Have you ever spoken to Ron            1   qualifications or work experience.
    2   Watkins?                                                     2              Do you have any such communications in
    3               MR. GESSLER: I'll advise my client to            3   your possession, custody, or control?
    4   decline to answer on Fifth Amendment grounds.                4              MR. GESSLER: I'll advise my client to
    5         Q (By Mr. Cain) Do you know how Ron Watkins            5   decline to answer on Fifth Amendment grounds.
    6   got a copy of an image of a hard drive from the              6         Q (By Mr. Cain) You'd agree with me, given
    7   County Clerk's office?                                       7   my characterization at least of the few orders we
    8               MR. GESSLER: I'll advise my client to            8   got from MyPillow, you haven't brought with you in
    9   decline to answer on Fifth Amendment grounds.                9   response to the subpoena any such communications
   10         Q (By Mr. Cain) Request No. 5, Ms. Peters,            10   with Mr. Hayes, true?
   11   if you will review that along with me. That                 11              MR. GESSLER: I'll advise my client to
   12   requests any documents and communications authored,         12   decline to answer on Fifth Amendment grounds.
   13   sent, or received by you specifically linking Dr.           13         Q (By Mr. Cain) Who paid for him?
   14   Coomer to specific acts of interference,                    14              MR. GESSLER: I'll advise my client to
   15   manipulation, or alteration of the 2020                     15   decline to answer on Fifth Amendment grounds.
   16   presidential election results.                              16         Q (By Mr. Cain) Who paid for his work here
   17               You didn't bring anything responsive to         17   in Mesa County?
   18   that either, did you?                                       18              MR. GESSLER: I'll advise my client to
   19               MR. GESSLER: I'll advise my client to           19   decline to answer on Fifth Amendment grounds.
   20   decline to answer on Fifth Amendment grounds.               20         Q (By Mr. Cain) Request No. 7, all
   21         Q (By Mr. Cain) Are you aware of any such             21   documents and communications authored, sent, or
   22   communications that exist where you authored                22   received by you relating to any surveillance of,
   23   something -- and I'll -- I'll just paraphrase it.           23   threats directed towards, or harassment of
   24               Were you sent a text, were you sent an          24   Dr. Coomer between January 1, 2020 and the present.
   25   e-mail and the substance of which was you                   25              Do you know of any such documents in your

                                                      Page 26                                                        Page 28
    1   discussing the rigging of the 2020 election and Dr.          1   possession, custody, or control?
    2   Coomer's involvement or Dominion Voting System's             2               MR. GESSLER: I'll advise my client to
    3   involvement in the rigging of the election?                  3   decline to answer on Fifth Amendment grounds.
    4              MR. GESSLER: I'll advise my client to             4         Q (By Mr. Cain) Surely you've seen some of
    5   decline to answer on Fifth Amendment grounds.                5   the threats that have been directed towards him,
    6         Q (By Mr. Cain) Do those communications                6   haven't you?
    7   exist or not?                                                7               MR. GESSLER: I'll advise my client to
    8              MR. GESSLER: I'll advise my client to             8   decline to answer on Fifth Amendment grounds.
    9   decline to answer on Fifth Amendment grounds.                9         Q (By Mr. Cain) Have you made any threats
   10         Q (By Mr. Cain) Well, you talk about them             10   to Dr. Coomer?
   11   publicly quite a bit, so why are you not talking            11               MR. GESSLER: I'll advise my client to
   12   about these issues with me here today?                      12   decline to answer on Fifth Amendment grounds.
   13              MR. GESSLER: I'll advise my client to            13         Q (By Mr. Cain) Online or otherwise?
   14   decline to answer on Fifth Amendment grounds.               14               MR. GESSLER: I'll advise my client to
   15         Q (By Mr. Cain) Is it because you're under            15   decline to answer on Fifth Amendment grounds.
   16   oath now?                                                   16         Q (By Mr. Cain) Request No. 8, all
   17              MR. GESSLER: I'll advise my client to            17   documents or communications authored, sent, or
   18   decline to answer on Fifth Amendment grounds.               18   received by you discussing any visits by Conan
   19         Q (By Mr. Cain) Request No. 6, all                    19   James Hayes to Mesa County, Colorado between
   20   documents and communications authored, sent, or             20   January 1, 2020 and the present, including, but not
   21   received by you describing the credentials,                 21   limited to, any communications identifying all
   22   qualifications, or work experience of Conan James           22   individuals who interacted with Conan James Hayes
   23   Hayes, including, but not limited to,                       23   during his time in Colorado.
   24   communications with any third parties who claim to          24               Have you brought any such communications
   25   be able to vouch for those credentials,                     25   or documents with you here today?

                                          Western Colorado Court Reporting (970)778-5711                       (7) Pages 25 - 28
                                               www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 9 of
                                     43
                                                 TINA PETERS - November 7, 2022

                                                        Page 29                                                     Page 31
    1               MR. GESSLER: I'll advise my client to          1   objecting on form and foundation.
    2   decline to answer on Fifth Amendment grounds.              2              MR. CAIN: Okay.
    3         Q (By Mr. Cain) Who else was working, if             3              MR. GESSLER: I'm sorry. Is there a
    4   anyone, with Mr. Hayes in the work that he did here        4   pending question right now?
    5   in Mesa County in imaging the hard drives?                 5              MR. CAIN: No.
    6               MR. GESSLER: I'll advise my client to          6              MR. GESSLER: Okay.
    7   decline to answer on Fifth Amendment grounds.              7              MR. CAIN: It was the last one he thought
    8         Q (By Mr. Cain) What conversations -- we             8   was bad, but we'll move forward.
    9   did see -- Mr. Kloewer probably could tell me where        9        Q (By Mr. Cain) So you didn't talk -- well,
   10   it was, but --                                            10   you're not answering whether or not you spoke with
   11               MR. CAIN: Kloewer is K-L-O-E-W-E-R.           11   Mr. Lindell about the copying of the hard drives.
   12               MR. GESSLER: How do you spell that            12              Do you know how that information -- in
   13   again?                                                    13   other words, the electronic images of the hard
   14               MR. CAIN: K-L-O-E-W-E-R. I have to do         14   drives -- made its way to the cyber symposium?
   15   this at the courthouse every time with him. I tell        15              MR. GESSLER: I'll advise my client to
   16   the judge just it rhymes with flavor and just put a       16   decline to answer on Fifth Amendment grounds.
   17   K on it. It's not spelled that way. It makes no           17        Q (By Mr. Cain) Do you remember how you
   18   sense, but that is what it is, and he's a hell of a       18   made your way to the cyber symposium in South
   19   lawyer. Sorry. Bear with me. Let me silence my            19   Dakota?
   20   phone.                                                    20              MR. GESSLER: I'll advise my client to
   21         Q (By Mr. Cain) Anyway, there was an image          21   decline to answer on Fifth Amendment grounds.
   22   taken of your cell phone and it had an address in         22        Q (By Mr. Cain) If I need to go to the
   23   California where you were sending -- or someone at        23   judge and request that certain information and data
   24   the County Clerk's office was sending information         24   be compelled, where would I specifically direct the
   25   to Mr. Hayes.                                             25   Court to that information? In other words, where

                                                      Page 30                                                          Page 32
    1              Do you remember someone taking a picture        1   would this data -- to the extent that it exists,
    2   of your cell phone containing that address out in          2   whether it's in paper form, printed out e-mail, or
    3   California?                                                3   it's on a computer that you have, a personal laptop
    4              MR. GESSLER: I'll advise my client to           4   or personal device, where would those types of data
    5   decline to answer on Fifth Amendment grounds.              5   storage units be located?
    6         Q (By Mr. Cain) Did you send any of the              6               MR. GESSLER: I'll advise my client to
    7   electronic data that was copied from the County            7   decline to answer on Fifth Amendment grounds.
    8   Clerk's office to Mr. Hayes in California?                 8         Q (By Mr. Cain) Are you currently employed?
    9              MR. GESSLER: I'll advise my client to           9               MR. GESSLER: I'll advise my client to
   10   decline to answer on Fifth Amendment grounds.             10   decline to answer on Fifth Amendment grounds.
   11         Q (By Mr. Cain) Did you direct anyone to            11         Q (By Mr. Cain) My understanding is you may
   12   send that information to Mr. Hayes?                       12   be on some form of leave from the clerk's office,
   13              MR. GESSLER: I'll advise my client to          13   but your duties as the Mesa County Clerk have been
   14   decline to answer on Fifth Amendment grounds.             14   either suspended or you're no longer able to
   15         Q (By Mr. Cain) Was Mike Lindell aware              15   perform those duties; is that true?
   16   that, to your knowledge -- and his awareness would        16               MR. GESSLER: I'll advise my client to
   17   be as a result of you actually talking to him, but        17   decline to answer on Fifth Amendment grounds.
   18   was he aware that Mr. Hayes was making an image of        18         Q (By Mr. Cain) Are you prohibited at this
   19   the hard drive of the election software in Mesa           19   stage from communicating with County officials
   20   County?                                                   20   concerning the operations of the County Clerk's
   21              MR. GESSLER: I'll advise my client to          21   office?
   22   decline to answer on Fifth Amendment grounds.             22               MR. GESSLER: I'll advise my client to
   23         Q (By Mr. Cain) Did you talk to him about           23   decline to answer on Fifth Amendment grounds.
   24   it --                                                     24         Q (By Mr. Cain) Is this your first term as
   25              MR. MALONE: This is Ryan Malone also           25   a County Clerk?

                                         Western Colorado Court Reporting (970)778-5711                         (8) Pages 29 - 32
                                              www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 10
                                    of 43
                                                TINA PETERS - November 7, 2022

                                                      Page 33                                                         Page 35
   1              MR. GESSLER: I'll advise my client to            1   when it's appropriate to invoke the Fifth. And I'm
   2   decline to answer on Fifth Amendment grounds.               2   going to state that for the record so counsel, if
   3         Q (By Mr. Cain) Did you have any experience           3   he so chooses, can refresh his recollection on that
   4   in elections, running elections in an official              4   particular case because we're going to be arguing
   5   capacity prior to your first term as County Clerk           5   in court about it, I'm certain.
   6   in Mesa County?                                             6              As it relates to the questions, I'm
   7              MR. GESSLER: I'll advise my client to            7   prepared to sit here for five hours and ask you the
   8   decline to answer on Fifth Amendment grounds.               8   questions I have, so I'm going to do that.
   9         Q (By Mr. Cain) Did Mr. Lindell support               9         A    That's good. That's good. Thank you.
  10   your campaign for County Clerk here in Mesa when           10         Q    And we'll see how much information we can
  11   you ran initially?                                         11   obtain today, if any. Before I made that
  12              MR. GESSLER: I'll advise my client to           12   statement, I was asking you about training, so let
  13   decline to answer on Fifth Amendment grounds.              13   me kind of circle back to that.
  14         Q (By Mr. Cain) And by support I mean                14              Were you actually trained on how to
  15   either rah, rah cheerleading support or financial          15   use --
  16   support.                                                   16         A    Excuse me for a moment.
  17              MR. GESSLER: I'll advise my client to           17         Q    Yes, ma'am.
  18   decline to answer on Fifth Amendment grounds.              18         A    If we're going to do that, I need to run
  19         Q (By Mr. Cain) How about Joe Oltmann, same          19   to the restroom. Okay. All right.
  20   question.                                                  20         Q    Just a second. Let me -- let me --
  21              MR. GESSLER: I'll advise my client to           21              MR. GESSLER: Let's finish the question
  22   decline to answer on Fifth Amendment grounds.              22   and --
  23         Q (By Mr. Cain) Do you have any educational          23              THE DEPONENT: Okay. All right.
  24   background or training that would suggest that you         24         Q (By Mr. Cain) Yeah, and I apologize,
  25   were qualified to run the 2020 -- November 2020            25   ma'am. I should --

                                                        Page 34                                                      Page 36
   1   election here in Mesa County?                               1         A     That's okay.
   2              MR. GESSLER: I'll advise my client to            2         Q     I should have told you a couple of things
   3   decline to answer on Fifth Amendment grounds.               3   that I normally say, so let me say them now.
   4         Q (By Mr. Cain) Training perhaps with                 4         A     Okay.
   5   Dominion, things of that nature?                            5         Q     In almost every deposition, the lawyer
   6              MR. GESSLER: I'll advise my client to            6   will say if you don't understand my question, then
   7   decline to answer on Fifth Amendment grounds.               7   they will ask you to rephrase -- you know, tell me
   8         Q (By Mr. Cain) Experience in cyber                   8   you don't understand it and then we can rephrase it
   9   security, do you have any such experience or do you         9   so you and I are talking the same language. Since
  10   rely on others for that?                                   10   you haven't answered any questions, I'm going to
  11              MR. GESSLER: I'll advise my client to           11   assume, unless you say otherwise, you've understood
  12   decline to answer on Fifth Amendment grounds.              12   the questions that I have asked you here today to
  13         Q (By Mr. Cain) Any computer forensic                13   this point; is that fair?
  14   background of note?                                        14               MR. GESSLER: You can answer the
  15              MR. GESSLER: I'll advise my client to           15   question.
  16   decline to answer on Fifth Amendment grounds.              16         A     That's fair.
  17         Q (By Mr. Cain) I think you worked in                17         Q (By Mr. Cain) Okay. Thank you.
  18   construction; is that right?                               18               The other thing is the break. That's
  19              MR. GESSLER: I'll advise my client to           19   what Mr. Gessler was just talking about. It's not
  20   decline to answer on Fifth Amendment grounds.              20   appropriate to take a break when a question is
  21         Q (By Mr. Cain) Ma'am, pardon me. I was              21   pending. It is appropriate to take a break to
  22   looking at -- and I will just cite for the record          22   accommodate you and I'm happy to do that, and so
  23   U.S. v. Clark, which is a 10th Circuit case that           23   I'm going to give you a freebie and I'm going to
  24   describes the parameters of the invocation of the          24   let you take a break now, even though I started a
  25   Fifth Amendment, and I think we're well outside of         25   question.

                                        Western Colorado Court Reporting (970)778-5711                         (9) Pages 33 - 36
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 11
                                    of 43
                                                TINA PETERS - November 7, 2022

                                                       Page 37                                                   Page 39
   1         A     No. Go ahead and finish your question          1   question?
   2   and then I'll go. I can wait.                              2              MR. CAIN: Yeah.
   3         Q     Okay. Well, here's what we were talking        3              MR. GESSLER: Go ahead. Finish. I'm not
   4   about. We were talking about whether you had any           4   trying to be difficult.
   5   training -- or I was asking you whether you had any        5              MR. CAIN: No, I know you're not. It
   6   training on Dominion products. And then my next            6   ended with a question mark, but it was a long,
   7   question, which I'll slightly rephrase, is for you         7   drawn-out question. Let me ask it a little --
   8   to describe to me whether you had any interactions         8   hopefully in a more truncated fashion. That's a
   9   with Dominion employees while you were County Clerk        9   lawyer word for short.
  10   and specifically relating to the November 2020            10        Q (By Mr. Cain) Do you have any personal
  11   election.                                                 11   knowledge about Dr. Coomer?
  12               Did you have any interactions with            12              MR. GESSLER: I'll advise my client to
  13   Dominion employees?                                       13   decline to answer on Fifth Amendment grounds.
  14               MR. GESSLER: I'll advise my client to         14        Q (By Mr. Cain) Have you ever talked to
  15   decline to answer on Fifth Amendment grounds.             15   him?
  16               MR. CAIN: All right. Let's take a             16              MR. GESSLER: I'll advise my client to
  17   break.                                                    17   decline to answer on Fifth Amendment grounds.
  18               THE DEPONENT: Okay.                           18        Q (By Mr. Cain) Ever spoken to him on the
  19               THE VIDEOGRAPHER: The time on the video       19   telephone?
  20   monitor says 11:56, but the actual time is 10:55.         20              MR. GESSLER: I'll advise my client to
  21   We're off the record.                                     21   decline to answer on Fifth Amendment grounds.
  22               (Recess taken.)                               22        Q (By Mr. Cain) Ever made public statements
  23               THE VIDEOGRAPHER: The time is 11:13.          23   about him?
  24   We're back on the record.                                 24              MR. GESSLER: I'll advise my client to
  25         Q (By Mr. Cain) Are you ready to proceed,           25   decline to answer on Fifth Amendment grounds.

                                                      Page 38                                                       Page 40
   1   ma'am?                                                     1        Q     (By Mr. Cain) Ever Tweeted about him?
   2         A    I certainly am.                                 2               MR. GESSLER: I'll advise my client to
   3         Q    You can -- that exhibit in front of you,        3   decline to answer on Fifth Amendment grounds.
   4   you can put that aside so it doesn't get all               4         Q (By Mr. Cain) Are you on Twitter?
   5   cluttered in front of you. We're done talking              5               MR. GESSLER: I'll advise my client to
   6   about that for the time being.                             6   decline to answer on Fifth Amendment grounds.
   7         A    All right.                                      7               (Exhibit 2 was marked.)
   8         Q    When we broke, I asked you about                8               MR. CAIN: The court reporter has marked
   9   interactions with Dominion employees and training,         9   Deposition Exhibit 2. While you're looking at it,
  10   things of that nature.                                    10   for the folks on the Zoom, this is a one-page
  11              Do you -- do you recall if you ever met        11   document. I don't have it scanned. Let me
  12   with Dr. Coomer in connection with learning about         12   characterize it for you so you know what we're
  13   the Dominion product line?                                13   looking at. It purports to be a printout of some
  14              MR. GESSLER: I'll advise my client to          14   Twitter exchanges. There's some statements by --
  15   decline to answer on Fifth Amendment grounds.             15   purporting to be from Senator Pat Toome, and this
  16         Q (By Mr. Cain) Do you think you have ever          16   is then responded to by Tina Marie Peters at B, the
  17   met him?                                                  17   letter B, healthynow. That's the Twitter handle.
  18              MR. GESSLER: I'll advise my client to          18   It appears to be a response to some statements made
  19   decline to answer on Fifth Amendment grounds.             19   by Pat Toome regarding the election. And since --
  20         Q (By Mr. Cain) Because you have made               20         Q (By Mr. Cain) Well, actually, ma'am, can
  21   public statements about him, so my question is            21   you read the entry below Tina Marie Peters into the
  22   really geared towards how did you gain any personal       22   record for the lawyers.
  23   knowledge about Dr. Coomer through direct                 23               MR. GESSLER: I'll advise my client to
  24   interactions, if at all?                                  24   decline to answer on Fifth Amendment grounds.
  25              MR. GESSLER: I'm sorry. Is that a              25         Q (By Mr. Cain) I'll read it, then, ma'am.

                                        Western Colorado Court Reporting (970)778-5711                      (10) Pages 37 - 40
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 12
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                       Page 41                                                     Page 43
   1   It says in response to Pat Toome: Shame on you!            1   about purporting to talk about Eric Coomer on
   2   As one that administers elections in my County, you        2   January 3rd of 2021.
   3   apparently have no idea how it is possible to No.          3              Where did you get your knowledge about
   4   1, tabulate more than once ballots -- and that's           4   changing an algorithm in a voting machine when you
   5   how it's written, once. I think it means one. So           5   referenced Dr. Coomer?
   6   No. 1, I'll read it how I think it's supposed to           6              MR. GESSLER: I'll advise my client to
   7   be, tabulate more than one ballot favoring a               7   decline to answer on Fifth Amendment grounds.
   8   candidate, No. 2, change algorithm in a voting             8        Q (By Mr. Cain) Who told you about that?
   9   machine (see Eric Coomer from Dominion's Facebook          9              MR. GESSLER: I'll advise my client to
  10   Rants). You are dirty or ignorant. Time stamp             10   decline to answer on Fifth Amendment grounds.
  11   7:24 a.m., January 3, 2021.                               11        Q (By Mr. Cain) Or did you come to this
  12                Did you send or make this posting on         12   conclusion on your own based on research that you
  13   Twitter, Ms. Peters?                                      13   did?
  14                MR. GESSLER: I'll advise my client to        14              MR. GESSLER: I'll advise my client to
  15   decline to answer on Fifth Amendment grounds.             15   decline to answer on Fifth Amendment grounds.
  16         Q (By Mr. Cain) What were you referring to,         16        Q (By Mr. Cain) Do you have any evidence,
  17   if you know, about this concept of tabulating more        17   ma'am, that Dr. Coomer had anything to do with
  18   than one ballot favoring a candidate?                     18   betraying his country or rigging the election?
  19                MR. GESSLER: I'll advise my client to        19              MR. GESSLER: I'll advise my client to
  20   decline to answer on Fifth Amendment grounds.             20   decline to answer on Fifth Amendment grounds.
  21         Q (By Mr. Cain) You reference in this Tweet         21        Q (By Mr. Cain) You've made other public
  22   purporting to be from you the ability to change the       22   statements, haven't you, about Dr. Coomer, not just
  23   algorithm in a voting machine, and then you               23   on Twitter?
  24   reference Dr. Coomer.                                     24              MR. GESSLER: I'll advise my client to
  25                What are you referring to there?             25   decline to answer on Fifth Amendment grounds.

                                                   Page 42                                                          Page 44
   1              MR. GESSLER: I'll advise my client to           1         Q (By Mr. Cain) Do you believe he's a
   2   decline to answer on Fifth Amendment grounds.              2   criminal?
   3         Q (By Mr. Cain) This Tweet was actually              3               MR. GESSLER: I'll advise my client to
   4   deleted, but we preserved a copy.                          4   decline to answer on Fifth Amendment grounds.
   5              Did you delete this Tweet yourself?             5         Q (By Mr. Cain) You would agree with me
   6              MR. GESSLER: I'll advise my client to           6   that committing election fraud is a felony?
   7   decline to answer on Fifth Amendment grounds.              7               MR. GESSLER: I'll advise my client to
   8         Q (By Mr. Cain) Do you know why you deleted          8   decline to answer on Fifth Amendment grounds.
   9   this Tweet?                                                9         Q (By Mr. Cain) And, again, I'm going to do
  10              MR. GESSLER: I'll advise my client to          10   this periodically, but we've had the invocation of
  11   decline to answer on Fifth Amendment grounds.             11   the Fifth over 100 times now.
  12         Q (By Mr. Cain) Do you remember sitting             12               You're going to take your lawyer's advice
  13   down and thinking, well, maybe -- this was three          13   and have to this point when he invokes the Fifth on
  14   days before the insurrection -- maybe I need to           14   your behalf, correct?
  15   delete this Tweet?                                        15               MR. GESSLER: You can answer the
  16              MR. GESSLER: I'll advise my client to          16   question.
  17   decline to answer on Fifth Amendment grounds.             17         A     That's correct.
  18         Q (By Mr. Cain) Why is that funny?                  18         Q (By Mr. Cain) Okay. And can we just have
  19              MR. GESSLER: I'll advise my client to          19   a standing agreement -- maybe this is easier,
  20   decline to answer on Fifth Amendment grounds.             20   actually, now that I'm thinking about it.
  21         Q (By Mr. Cain) Is this your Twitter                21               Unless you tell me otherwise, I'm going
  22   handle?                                                   22   to assume that you're taking your lawyer's advice
  23              MR. GESSLER: I'll advise my client to          23   when he invokes the Fifth Amendment on your behalf;
  24   decline to answer on Fifth Amendment grounds.             24   is that fair?
  25         Q (By Mr. Cain) Well, here you're talking           25         A     I'll always take my lawyer's advice.

                                        Western Colorado Court Reporting (970)778-5711                      (11) Pages 41 - 44
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 13
                                    of 43
                                                   TINA PETERS - November 7, 2022

                                                    Page 45                                                                Page 47
   1   That's fair.                                                   1         Q (By Mr. Cain) Do you even know what
   2         Q (By Mr. Cain) Others, including                        2   Antifa is? Do you have a definition of that
   3   Mr. Lindell, have called Dr. Coomer a traitor and              3   organization, if it is one?
   4   that he's treasonous.                                          4               MR. GESSLER: I'll advise my client to
   5               Do you share that same belief?                     5   decline to answer on Fifth Amendment grounds.
   6               MR. GESSLER: I'll advise my client to              6         Q (By Mr. Cain) I mean, are there members
   7   decline to answer on Fifth Amendment grounds.                  7   of this group, Antifa? Do they have a membership
   8         Q (By Mr. Cain) If you haven't met him -- I              8   role like, say, the NRA?
   9   presume that to be true -- how do you know that he             9               MR. GESSLER: I'll advise my client to
  10   rigged the election?                                          10   decline to answer on Fifth Amendment grounds.
  11               MR. GESSLER: I'll advise my client to             11         Q (By Mr. Cain) Is it -- is it a political
  12   decline to answer on Fifth Amendment grounds.                 12   organization like -- like the Republican or
  13         Q (By Mr. Cain) How many people do you                  13   Democratic Party?
  14   know, ma'am, who now believe that Dr. Coomer had              14               MR. GESSLER: I'll advise my client to
  15   something to do with rigging the 2020 presidential            15   decline to answer on Fifth Amendment grounds.
  16   election?                                                     16         Q (By Mr. Cain) Do you believe that only
  17               MR. GESSLER: I'll advise my client to             17   people who hold a specific political viewpoint --
  18   decline to answer on Fifth Amendment grounds.                 18   for example, conservative -- can work in elections
  19         Q (By Mr. Cain) I mean, based on the public             19   or can Democrats do that too?
  20   statements you've made, you obviously believe he              20               MR. GESSLER: I'll advise my client to
  21   had a hand in doing that, right?                              21   decline to answer on Fifth Amendment grounds.
  22               MR. GESSLER: I'll advise my client to             22         Q (By Mr. Cain) To your knowledge, did you
  23   decline to answer on Fifth Amendment grounds.                 23   have any Democrats working in the Mesa County
  24         Q (By Mr. Cain) And you obviously believe               24   Clerk's office in November of 2020?
  25   that his reputation as an election worker is                  25               MR. GESSLER: I'll advise my client to

                                                           Page 46                                                       Page 48
   1   less -- I'll put it nicely -- is less than stellar.            1   decline to answer on Fifth Amendment grounds.
   2                 MR. GESSLER: I'll advise my client to            2         Q (By Mr. Cain) You probably don't ask, do
   3   decline to answer on Fifth Amendment grounds.                  3   you?
   4         Q (By Mr. Cain) Just estimate for me the                 4               MR. GESSLER: I'll advise my client to
   5   number of people in your sphere who, as a result of            5   decline to answer on Fifth Amendment grounds.
   6   the statements that have been made about Dr.                   6         Q (By Mr. Cain) Because I suspect you don't
   7   Coomer, believe that he betrayed his country?                  7   choose who's going to administer the elections in
   8                 MR. GESSLER: I'll advise my client to            8   this county, at least when you had the authority to
   9   decline to answer on Fifth Amendment grounds.                  9   do so, based on a person's political persuasion one
  10         Q (By Mr. Cain) Based on what you've                    10   way or the other, do you?
  11   learned about Dr. Coomer from any source, how did             11               MR. GESSLER: I'll advise my client to
  12   he, quote, change an algorithm, close quote, in the           12   decline to answer on Fifth Amendment grounds.
  13   Mesa County election management system?                       13         Q (By Mr. Cain) Even Republicans -- I read
  14                 MR. GESSLER: I'll advise my client to           14   the other day Dan Crenshaw -- do you know who he
  15   decline to answer on Fifth Amendment grounds.                 15   is, a congressman?
  16         Q (By Mr. Cain) You've also publicly talked             16               MR. GESSLER: I'll advise my client to
  17   about Dr. Coomer being on an Antifa call.                     17   decline to answer on Fifth Amendment grounds.
  18                 Do you remember doing that?                     18         Q (By Mr. Cain) He was quoted last week as
  19                 MR. GESSLER: I'll advise my client to           19   saying -- I wrote it down -- it was always a lie.
  20   decline to answer on Fifth Amendment grounds.                 20   The whole thing was always a lie, and it was a lie
  21         Q (By Mr. Cain) Do you believe he's a                   21   meant to rile people up. That's what Congressman
  22   member of Antifa and do you firmly hold that                  22   Crenshaw says.
  23   belief?                                                       23               Do you agree with that statement?
  24                 MR. GESSLER: I'll advise my client to           24               MR. GESSLER: I'll advise my client to
  25   decline to answer on Fifth Amendment grounds.                 25   decline to answer on Fifth Amendment grounds.

                                           Western Colorado Court Reporting (970)778-5711                          (12) Pages 45 - 48
                                                www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 14
                                    of 43
                                              TINA PETERS - November 7, 2022

                                                   Page 49                                                       Page 51
   1           A   I want to understand what you mean by        1   attorney?
   2   that.                                                    2               Do you remember that?
   3               MR. GESSLER: Let us not speak, please.       3               MR. GESSLER: I'll advise my client to
   4               THE DEPONENT: Okay.                          4   decline to answer on Fifth Amendment grounds.
   5               MR. GESSLER: Unless he asks a question.      5        Q (By Mr. Cain) And then you had some
   6         Q (By Mr. Cain) Did you not understand my          6   technical difficulties with your phone, and so that
   7   question?                                                7   part of the video stopped and then you came back
   8               MR. GESSLER: I'll advise my client to        8   on, and that's where we're going to pick back up.
   9   decline to answer on Fifth Amendment grounds.            9   So this is about four minutes in. This is Clip 10.
  10         Q (By Mr. Cain) Then I'm going to assume          10   I'm going to have some questions for you about this
  11   you did. Well, actually, let's do this. We're           11   appearance after we play it.
  12   going to mix it up a little bit. We've got some         12               (Video playing.)
  13   clips that I'm going to play for you from time to       13               BRANNON HOWSE: Tina, so you were
  14   time.                                                   14        mentioning the man that you were subpoenaed
  15               MR. CAIN: And we've marked two exhibits     15        by, he worked at one time for Dominion; is
  16   and, unless you have an objection, I think what we      16        that correct?
  17   should do is I've got a thumb drive -- and guys on      17               TINA PETERS: That's correct. He was the
  18   the Zoom, we'll have to upload this or I'll -- at a     18        one that was in charge of the patents for the
  19   break I'll have Scotti upload it so you will have       19        algorithm that is inside the Dominion voting
  20   access to it. These are video clips that I'm going      20        machine and actually bragged on an Antifa
  21   to have the court reporter mark -- she's been           21        call, that he was a member of, that he would
  22   provided with a thumb drive -- as Exhibit 3, and        22        make sure that -- that Trump wouldn't get in,
  23   then there are multiple clips under that.               23        that he made effing sure of it. And that's
  24               Did you give Scott a copy of that?          24        what got Joe Oltmann -- Joe Oltmann was on
  25               (Discussion off the record.)                25        that call, and that's what got him involved in

                                                     Page 50                                                        Page 52
   1                MR. CAIN: Let's go off the record           1         the fight.
   2   briefly for this.                                        2                Well, Eric Coomer is now subpoenaing me
   3                THE VIDEOGRAPHER: The time is 11:27.        3         against our beloved patriot, Mike Lindell, and
   4   We're off the record.                                    4         this is going to happen November 7th right
   5                (Off the record.)                           5         here in Grand Junction where they are going to
   6                (Exhibit 3 was marked.)                     6         subpoena me and interrogate me to try to gen
   7                THE VIDEOGRAPHER: The time is 11:31.        7         up some kind of information about our patriot,
   8   We're back on the record.                                8         Mike Lindell. Not going to happen. You know,
   9         Q (By Mr. Cain) Ma'am, the day you were            9         it's just -- you know, it's like throw another
  10   served with this deposition subpoena to appear, you     10         one on the pile, like Mike says. But,
  11   made a video presentation or communicated, I guess,     11         nevertheless, their assaults keep coming. And
  12   via -- it looks like Facetime with Brannon Howse on     12         what happened today with the -- with the
  13   Lindell TV.                                             13         Supreme Court of Colorado --
  14                Do you remember that -- doing that?        14                MR. CAIN: We can pause it there. I
  15                MR. GESSLER: I'll advise my client to      15   think she goes...
  16   decline to answer on Fifth Amendment grounds.           16                (Video stopped.)
  17         Q (By Mr. Cain) Do you remember how it was        17         Q (By Mr. Cain) You go on to talk about
  18   you got booked to appear on that program on the day     18   another topic, obviously, there.
  19   that you were served with this subpoena?                19                MR. CAIN: I'm hearing some feedback.
  20                MR. GESSLER: I'll advise my client to      20                THE VIDEOGRAPHER: How about that?
  21   decline to answer on Fifth Amendment grounds.           21                MR. CAIN: Testing. It's better. Thank
  22         Q (By Mr. Cain) Part of the -- do you             22   you.
  23   recall part of what you were talking about, at          23         Q (By Mr. Cain) Anyway, ma'am, you just
  24   least before this clip, was attempting to take the      24   heard yourself recounting that Dr. Coomer was on
  25   deposition of a judge and perhaps the district          25   this Antifa call, and that was a statement of fact

                                       Western Colorado Court Reporting (970)778-5711                       (13) Pages 49 - 52
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 15
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                    Page 53                                                       Page 55
   1   that you made, that he, in fact, was the person          1   forget -- that's an odd spot to stop the video.
   2   that was on that call; isn't that true?                  2               B66 promo code, do you have any promo
   3               MR. GESSLER: I'll advise my client to        3   codes associated with anything you do on Lindell TV
   4   decline to answer on Fifth Amendment grounds.            4   or FrankSpeech?
   5         Q (By Mr. Cain) And you republished the            5               MR. GESSLER: I'll advise my client to
   6   statement that Dr. Coomer bragged on the call that       6   decline to answer on Fifth Amendment grounds.
   7   he was going to make effing sure that Trump would        7         Q (By Mr. Cain) Do you know how Mr. Lindell
   8   not win the election. You repeated that statement,       8   monetizes appearances such as you on Lindell TV?
   9   didn't you?                                              9               MR. GESSLER: I'll advise my client to --
  10               MR. GESSLER: I'll advise my client to       10               MR. MALONE: This is Ryan Malone. Sorry.
  11   decline to answer on Fifth Amendment grounds.           11   Object to the form and foundation.
  12         Q (By Mr. Cain) And that was a statement of       12               MR. GESSLER: And I'll advise my client
  13   fact, too, wasn't it?                                   13   to decline to answer on Fifth Amendment grounds.
  14               MR. GESSLER: I'll advise my client to       14         Q (By Mr. Cain) I mean, do you have a promo
  15   decline to answer on Fifth Amendment grounds.           15   code that's associated with any appearances you
  16         Q (By Mr. Cain) In other words, it wasn't         16   make?
  17   some opinion you were sharing that maybe, in your       17               MR. GESSLER: I'll advise my client to
  18   opinion, this -- this occurred. This was a              18   decline to answer on Fifth Amendment grounds.
  19   statement of fact you made, wasn't it?                  19         Q (By Mr. Cain) Back to Mr. Oltmann, when
  20               MR. GESSLER: I'll advise my client to       20   did you first meet him, do you remember?
  21   decline to answer on Fifth Amendment grounds.           21               MR. GESSLER: I'll advise my client to
  22         Q (By Mr. Cain) You also stated as a matter       22   decline to answer on Fifth Amendment grounds.
  23   of fact that Joe Oltmann was on this alleged call,      23         Q (By Mr. Cain) Did you ever ask
  24   didn't you?                                             24   Mr. Oltmann how it was that he supposedly got on
  25               MR. GESSLER: I'll advise my client to       25   this Antifa call?

                                                     Page 54                                                      Page 56
   1   decline to answer on Fifth Amendment grounds.            1               MR. GESSLER: I'll advise my client to
   2         Q (By Mr. Cain) That, too, is not a                2   decline to answer on Fifth Amendment grounds.
   3   statement of opinion. That is a statement of fact        3         Q (By Mr. Cain) In other words, you're on
   4   that you repeated, correct?                              4   Lindell TV making these statements of fact about
   5               MR. GESSLER: I'll advise my client to        5   Dr. Coomer.
   6   decline to answer on Fifth Amendment grounds.            6               Did you ever think to ask Mr. Oltmann:
   7         Q (By Mr. Cain) And all of this matters in         7   Did you record that Antifa call? Can you actually
   8   the sense of the election fraud narrative because        8   show us some proof that he was on it? Did you ever
   9   you, among others, indicated that Dr. Coomer had         9   ask him that?
  10   the ability to act on his supposed bias; isn't that     10               MR. GESSLER: I'll advise my client to
  11   true?                                                   11   decline to answer on Fifth Amendment grounds.
  12               MR. GESSLER: I'll advise my client to       12         Q (By Mr. Cain) Did you ever ask
  13   decline to answer on Fifth Amendment grounds.           13   Mr. Oltmann who was his conduit? How did he get on
  14         Q (By Mr. Cain) And the matters that you          14   that call, that supposed call? Did you ever ask
  15   were talking about on this Clip 10, the Antifa call     15   him that question before making statements like
  16   and all that business that we've gone through,          16   this?
  17   where did you get that information from? Who was        17               MR. GESSLER: I'll advise my client to
  18   your source?                                            18   decline to answer on Fifth Amendment grounds.
  19               MR. GESSLER: I'll advise my client to       19         Q (By Mr. Cain) Did you ever ask
  20   decline to answer on Fifth Amendment grounds.           20   Mr. Oltmann how it was that he gained access to a
  21         Q (By Mr. Cain) Did you get it from Joe           21   private Facebook page associated with Dr. Coomer?
  22   Oltmann?                                                22               MR. GESSLER: I'll advise my client to
  23               MR. GESSLER: I'll advise my client to       23   decline to answer on Fifth Amendment grounds.
  24   decline to answer on Fifth Amendment grounds.           24         Q (By Mr. Cain) It's fair to say that Joe
  25         Q (By Mr. Cain) Oh, actually, before I            25   Oltmann and Eric Coomer are probably not Facebook

                                       Western Colorado Court Reporting (970)778-5711                     (14) Pages 53 - 56
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 16
                                    of 43
                                              TINA PETERS - November 7, 2022

                                                     Page 57                                                        Page 59
   1   friends. Is that a fair statement?                       1         is stealing Gerald Wood's identity.
   2              MR. GESSLER: I'll advise my client to         2               JOE OLTMANN: But you didn't steal Gerald
   3   decline to answer on Fifth Amendment grounds.            3         Wood's identity at all.
   4        Q (By Mr. Cain) Did he tell you who got him         4               TINA PETERS: No --
   5   onto the Facebook?                                       5               JOE OLTMANN: And I was in that -- I was
   6              MR. GESSLER: I'll advise my client to         6         in that plane when he said that I was involved
   7   decline to answer on Fifth Amendment grounds.            7         in this and I feel like this is necessary
   8        Q (By Mr. Cain) Well, you're frequently in          8         and -- and he was the one that said that. I
   9   contact with Mr. Oltmann, aren't you?                    9         didn't even -- I just asked him how he was
  10              MR. GESSLER: I'll advise my client to        10         doing. Like how are you doing? Like they
  11   decline to answer on Fifth Amendment grounds.           11         just raided your house. You were gone. How
  12        Q (By Mr. Cain) And you've appeared --             12         are you doing? And he's like I'm fine, I'm
  13   you've appeared on Conservative Daily roughly how       13         good. We're going to -- we're going to fight
  14   many times?                                             14         for our nation. And he sat there and said,
  15              MR. GESSLER: I'll advise my client to        15         Oh, my gosh, I can't wait until somebody calls
  16   decline to answer on Fifth Amendment grounds.           16         me and says Joe --
  17        Q (By Mr. Cain) And, in fact, we're sitting        17               (Video stopped.)
  18   here and I'm asking you questions about your            18               MR. CAIN: Just tell me when I...
  19   conduct, in part, at least as the Mesa County           19               THE VIDEOGRAPHER: You can go now.
  20   Clerk, and you've actually discussed that on the        20               MR. CAIN: Thank you.
  21   Conservative Daily podcast, haven't you?                21         Q (By Mr. Cain) All right. So isn't my
  22              MR. GESSLER: I'll advise my client to        22   statement true? You've -- you've actually publicly
  23   decline to answer on Fifth Amendment grounds.           23   discussed the Gerald Woods identity issue and
  24        Q (By Mr. Cain) And you've joked with              24   his -- the use of his badge on Conservative Daily
  25   Mr. Oltmann -- well, I don't want to characterize       25   with Joe Oltmann, didn't you?

                                                   Page 58                                                          Page 60
   1   it.                                                      1              MR. GESSLER: I'll advise my client to
   2              You've discussed with Mr. Oltmann the         2   decline to answer on Fifth Amendment grounds.
   3   idea that Gerald Woods was aware that his identity       3         Q (By Mr. Cain) And he referenced -- he,
   4   was being used to access -- to gain access by a          4   Mr. Oltmann, referenced being on this plane with
   5   non-County employee. Remember that?                      5   Mr. Woods.
   6              MR. GESSLER: I'll advise my client to         6              Were you also on the plane at that point?
   7   decline to answer on Fifth Amendment grounds.            7              MR. GESSLER: I'll advise my client to
   8          Q (By Mr. Cain) When was the last time you        8   decline to answer on Fifth Amendment grounds.
   9   were on Conservative Daily, do you remember?             9         Q (By Mr. Cain) I believe you had indicated
  10              MR. GESSLER: I'll advise my client to        10   that Mr. Woods showed up at the cyber symposium,
  11   decline to answer on Fifth Amendment grounds.           11   and I want to talk to you about the symposium.
  12          Q (By Mr. Cain) All right. Well, let's do        12              But did you communicate with Mr. Woods at
  13   this. Let's -- let's look at Clip 12.                   13   the symposium?
  14              MR. CAIN: And I don't know if we need to     14              MR. GESSLER: I'll advise my client to
  15   tell them to mute or whatnot, but I want to make        15   decline to answer on Fifth Amendment grounds.
  16   sure that we don't get feedback, you know, because      16         Q (By Mr. Cain) Did you know that he was
  17   they're on -- so if you can't play it through Zoom      17   going up there as well?
  18   and avoid that feedback, then I'd say just play it      18              MR. GESSLER: I'll advise my client to
  19   locally. Your call.                                     19   decline to answer on Fifth Amendment grounds.
  20              THE VIDEOGRAPHER: I need to mute us and      20         Q (By Mr. Cain) All right. Well, if we're
  21   then turn on the house sound.                           21   not going to talk about Mr. Oltmann, let's -- you
  22              MR. CAIN: Okay.                              22   know, and I -- I alluded to this earlier on, but I
  23              THE VIDEOGRAPHER: We're muted.               23   want to make sure that I understand your
  24              (Video playing.)                             24   relationship with Mike Lindell, so let's shift to
  25              TINA PETERS: -- that's not illegal. It       25   him, from Oltmann to Lindell.

                                       Western Colorado Court Reporting (970)778-5711                       (15) Pages 57 - 60
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 17
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                     Page 61                                                    Page 63
   1              Can you tell me when you first met him,       1   Dr. Coomer's supposed ability to change an
   2   Mike Lindell?                                            2   algorithm within the software.
   3              MR. GESSLER: I'll advise my client to         3              Did you have any discussions --
   4   decline to answer on Fifth Amendment grounds.            4   technical, more technical discussions with
   5         Q (By Mr. Cain) Who introduced you to him?         5   Mr. Lindell concerning that subject, how he did it?
   6              MR. GESSLER: I'll advise my client to         6              MR. GESSLER: I'll advise my client to
   7   decline to answer on Fifth Amendment grounds.            7   decline to answer on Fifth Amendment grounds.
   8         Q (By Mr. Cain) Have you spoken to Mike            8         Q (By Mr. Cain) Or Mr. Oltmann?
   9   Lindell about Dr. Eric Coomer at any time?               9              MR. GESSLER: I'll advise my client to
  10              MR. GESSLER: I'll advise my client to        10   decline to answer on Fifth Amendment grounds.
  11   decline to answer on Fifth Amendment grounds.           11         Q (By Mr. Cain) I mean, did you have any --
  12         Q (By Mr. Cain) Does -- has he indicated to       12   you obviously appeared on Conservative Daily.
  13   you that he agrees with the statements that you         13              Did you have any discussions while the
  14   made on Lindell TV about Dr. Coomer being on the        14   video wasn't rolling where -- where Mr. Oltmann
  15   Antifa call and bragging about the election and the     15   told you how Dr. Coomer rigged the election?
  16   like?                                                   16              MR. GESSLER: I'll advise my client to
  17              MR. GESSLER: I'll advise my client to        17   decline to answer on Fifth Amendment grounds.
  18   decline to answer on Fifth Amendment grounds.           18         Q (By Mr. Cain) Same question for -- for
  19         Q (By Mr. Cain) And has Mr. Lindell               19   Conan Hayes.
  20   explained to you, if ever, how he monetizes this        20              Did you have any discussions with him
  21   whole election fraud narrative? Is it just through      21   about how or whether Dr. Coomer had some role in
  22   the promo codes or there's another stream of            22   rigging the 2020 election?
  23   revenue?                                                23              MR. GESSLER: I'll advise my client to
  24              MR. GESSLER: I'll advise my client to        24   decline to answer on Fifth Amendment grounds.
  25   decline to answer on Fifth Amendment grounds.           25         Q (By Mr. Cain) When did you first meet

                                                   Page 62                                                         Page 64
   1         Q (By Mr. Cain) For example, the cyber             1   Mr. Hayes, if ever?
   2   symposium, you were at that, right?                      2               MR. GESSLER: I'll advise my client to
   3              MR. GESSLER: I'll advise my client to         3   decline to answer on Fifth Amendment grounds.
   4   decline to answer on Fifth Amendment grounds.            4         Q (By Mr. Cain) What did he tell you about
   5         Q (By Mr. Cain) You appeared on -- on the          5   his background in computer forensics that led you
   6   stage at one point, didn't you?                          6   to believe that he should have access to Mesa
   7              MR. GESSLER: I'll advise my client to         7   County computer systems?
   8   decline to answer on Fifth Amendment grounds.            8               MR. GESSLER: I'll advise my client to
   9         Q (By Mr. Cain) Were you planning on               9   decline to answer on Fifth Amendment grounds.
  10   speaking at that event before you went there?           10         Q (By Mr. Cain) Did he take a forensic
  11              MR. GESSLER: I'll advise my client to        11   image or not?
  12   decline to answer on Fifth Amendment grounds.           12               MR. GESSLER: I'll advise my client to
  13         Q (By Mr. Cain) Or did something happen           13   decline to answer on Fifth Amendment grounds.
  14   that caused you to go up on stage?                      14         Q (By Mr. Cain) Did you authorize him to do
  15              MR. GESSLER: I'll advise my client to        15   so?
  16   decline to answer on Fifth Amendment grounds.           16               MR. GESSLER: I'll advise my client to
  17         Q (By Mr. Cain) And tell me about your            17   decline to answer on Fifth Amendment grounds.
  18   discussions with Mr. Lindell, if you had them, and      18         Q (By Mr. Cain) Well, you were the chief
  19   Mr. Oltmann about having a panel where Mr. Oltmann      19   election official for the November 2020 election,
  20   was going to recount this same narrative about          20   weren't you, in Mesa County?
  21   Dr. Coomer.                                             21               MR. GESSLER: I'll advise my client to
  22              MR. GESSLER: I'll advise my client to        22   decline to answer on Fifth Amendment grounds.
  23   decline to answer on Fifth Amendment grounds.           23         Q (By Mr. Cain) And just think back to that
  24         Q (By Mr. Cain) Somewhat related question:        24   election. I think it was your first election here.
  25   You know, we looked at the statements about             25   Tell me if it was not.

                                       Western Colorado Court Reporting (970)778-5711                       (16) Pages 61 - 64
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 18
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                   Page 65                                                         Page 67
   1              MR. GESSLER: I'll advise my client to         1               MR. GESSLER: I'll advise my client to
   2   decline to answer on Fifth Amendment grounds.            2   decline to answer on Fifth Amendment grounds.
   3         Q (By Mr. Cain) And I presume, given your          3         Q (By Mr. Cain) A lot of the public I don't
   4   duties, you were -- you were on-site on election         4   think understand what the role of a voting company
   5   day engaged with your deputy clerks and the staff        5   is as opposed to the people that actually run the
   6   there, weren't you?                                      6   elections. And it's fair to say that the -- a
   7              MR. GESSLER: I'll advise my client to         7   group like Dominion supplies the hardware, may
   8   decline to answer on Fifth Amendment grounds.            8   lease it to the County. I think in this case that
   9         Q (By Mr. Cain) Did you perceive any               9   was -- that was what happened.
  10   problems in realtime with the election? Like were       10               But they don't actually run the election
  11   there any issues with the adjudication system, with     11   itself, as we've indicated, right?
  12   tabulators, anything like that?                         12               MR. GESSLER: I'll advise my client to
  13              MR. GESSLER: I'll advise my client to        13   decline to answer on Fifth Amendment grounds.
  14   decline to answer on Fifth Amendment grounds.           14         Q (By Mr. Cain) And isn't it true that
  15         Q (By Mr. Cain) Well, I know as a clerk,          15   there's this -- well, let me ask you.
  16   you don't necessarily administer the elections in a     16               Do you know what the term "air-gapped"
  17   hands-on way. You have other people that you rely       17   means? Have you heard that term before?
  18   on to assist you in that regard.                        18               MR. GESSLER: I'll advise my client to
  19              What did you do as part of the November      19   decline to answer on Fifth Amendment grounds.
  20   2020 election on election day?                          20         Q (By Mr. Cain) Isn't it true that the Mesa
  21              MR. GESSLER: I'll advise my client to        21   County election management software, the
  22   decline to answer on Fifth Amendment grounds.           22   tabulators, voting machines during the November
  23         Q (By Mr. Cain) It's true, though, on             23   2020 election, none of those were connected to the
  24   election night as votes were being counted, you         24   Internet, were they?
  25   didn't have any concerns, in your mind, over the        25               MR. GESSLER: I'll advise my client to

                                                     Page 66                                                      Page 68
   1   accuracy of the tabulation that was going on at          1   decline to answer on Fifth Amendment grounds.
   2   your office, did you?                                    2         Q (By Mr. Cain) In other words, are you
   3              MR. GESSLER: I'll advise my client to         3   contending that -- under oath that there was an
   4   decline to answer on Fifth Amendment grounds.            4   outside -- an outsider -- in other words, someone
   5         Q (By Mr. Cain) For example, did you               5   outside of the local area network at Mesa County --
   6   instruct any of your staff members to contact            6   that gained access to the Mesa County system and
   7   Dominion Voting Systems to address issues that           7   specifically Dr. Coomer?
   8   you-all were having with the computer software?          8               MR. GESSLER: I'll advise my client to
   9              MR. GESSLER: I'll advise my client to         9   decline to answer on Fifth Amendment grounds.
  10   decline to answer on Fifth Amendment grounds.           10         Q (By Mr. Cain) Or a foreign country like
  11         Q (By Mr. Cain) Because isn't it true             11   China, did you see any evidence of that?
  12   Dominion, the voting system company and its             12               MR. GESSLER: I'll advise my client to
  13   employees, they don't actually administer the           13   decline to answer on Fifth Amendment grounds.
  14   election themselves, do they?                           14         Q (By Mr. Cain) You didn't, did you?
  15              MR. GESSLER: I'll advise my client to        15               MR. GESSLER: I'll advise my client to
  16   decline to answer on Fifth Amendment grounds.           16   decline to answer on Fifth Amendment grounds.
  17         Q (By Mr. Cain) That -- that function is          17         Q (By Mr. Cain) And am I correct -- I
  18   and should be with the people employed by the           18   don't -- I'm sure counties do things differently,
  19   County that run the elections, your folks, right?       19   but in Mesa County, is it true that there are paper
  20              MR. GESSLER: I'll advise my client to        20   ballots? There's a paper ballot associated with
  21   decline to answer on Fifth Amendment grounds.           21   every vote cast? Is that the general backup system
  22         Q (By Mr. Cain) So if there's an issue, at        22   that you have?
  23   least on the personnel side, with administering the     23               MR. GESSLER: I'll advise my client to
  24   election, that's because of a County official, not      24   decline to answer on Fifth Amendment grounds.
  25   a Dominion official, right?                             25         Q (By Mr. Cain) In other words, I was

                                       Western Colorado Court Reporting (970)778-5711                       (17) Pages 65 - 68
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 19
                                    of 43
                                                TINA PETERS - November 7, 2022

                                                        Page 69                                                        Page 71
   1   looking at -- I don't know if I want to -- I don't          1   as you sit here, to doubt the accuracy of the
   2   think that I marked that.                                   2   reported results for the Mesa County election on
   3              I was looking at the vote totals during          3   November 3rd, 2020?
   4   the November 3rd, 2020 election, and this is                4              MR. GESSLER: I'll advise my client to
   5   published -- those vote totals are published on the         5   decline to answer on Fifth Amendment grounds.
   6   Mesa County Clerk's website, are they not?                  6        Q (By Mr. Cain) Do you have proof -- well,
   7              MR. GESSLER: I'll advise my client to            7   let me put it this way.
   8   decline to answer on Fifth Amendment grounds.               8              You don't have any proof, actually, that
   9         Q (By Mr. Cain) We could literally go there           9   any votes were switched by some outside party, do
  10   right now and they're still published for the              10   you?
  11   public, aren't they?                                       11              MR. GESSLER: I'll advise my client to
  12              MR. GESSLER: I'll advise my client to           12   decline to answer on Fifth Amendment grounds.
  13   decline to answer on Fifth Amendment grounds.              13        Q (By Mr. Cain) You've got a wry smile. If
  14         Q (By Mr. Cain) And according to the                 14   you have it, let me hear it. Now is your time.
  15   publication on the Mesa County Clerk's website --          15        A     I'm just -- I'm just a --
  16   and forgive me. I know you didn't answer this, but         16              MR. GESSLER: I'll advise my --
  17   it's my understanding that you still at least are          17        A     -- careful person.
  18   employed by Mesa County until your term expires; is        18              MR. GESSLER: I'll advise my client to
  19   that true?                                                 19   decline to answer on Fifth Amendment grounds.
  20              MR. GESSLER: I'll advise my client to           20        Q (By Mr. Cain) Well, you may be the only
  21   decline to answer on Fifth Amendment grounds.              21   person -- well, certainly in this room -- that can
  22         Q (By Mr. Cain) But according to the                 22   speak to this issue.
  23   website, there were 91,505 voters who cast ballots         23              Do you have any doubt in your mind that
  24   during the November 2020 election, of which 82,643         24   those vote totals are accurate, yes or no?
  25   did so by mail and 8,862 did so in person for a            25              MR. GESSLER: I'll advise my client to

                                                    Page 70                                                          Page 72
   1   turnout of almost 80 percent.                               1   decline to answer on Fifth Amendment grounds.
   2               Does that -- does that sound about right        2              MR. CAIN: Can I have an Angel Soft
   3   based on your recollection of the election?                 3   tissue? Thank you. It's a misleading name. All
   4               MR. GESSLER: I'll advise my client to           4   right.
   5   decline to answer on the basis of the Fifth                 5         Q (By Mr. Cain) Part of what I was hoping
   6   Amendment.                                                  6   to hear from you -- you know, in this county,
   7        Q (By Mr. Cain) And so isn't it true that              7   Donald Trump won approximately 65 percent of the
   8   whether you vote by mail and deposit it in a box or         8   vote. He had 56,000-and-change to Biden's
   9   you show up to a precinct and vote in person, that          9   31,000-and-change based on your reporting.
  10   there should be and is a paper trail for the               10              So is it your position that votes were
  11   ballots that were cast?                                    11   switched from -- from Trump to Biden embedded
  12               You can answer.                                12   within those numbers, and essentially Trump should
  13               MR. GESSLER: I'll advise my client to          13   have gotten more votes in Mesa County?
  14   decline to answer on Fifth Amendment grounds.              14              MR. GESSLER: I'll advise my client to
  15        Q (By Mr. Cain) And ultimately if there is            15   decline to answer on Fifth Amendment grounds.
  16   a hand recount, those can actually be reviewed and         16         Q (By Mr. Cain) Lauren Boebert, do you know
  17   compared to the records that the County maintains,         17   her?
  18   right?                                                     18              MR. GESSLER: I'll advise my client to
  19               MR. GESSLER: I'll advise my client to          19   decline to answer on Fifth Amendment grounds.
  20   decline to answer on Fifth Amendment grounds.              20         Q (By Mr. Cain) Did you have any
  21        Q (By Mr. Cain) And the official reported             21   discussions with Lauren Boebert about the imaging
  22   results, true?                                             22   of the hard drives at Mesa County in November
  23               MR. GESSLER: I'll advise my client to          23   2020 -- well, after the November 2020 election, I
  24   decline to answer on Fifth Amendment grounds.              24   should say?
  25        Q (By Mr. Cain) So do you have any reason,            25              MR. GESSLER: I'll advise my client to

                                        Western Colorado Court Reporting (970)778-5711                          (18) Pages 69 - 72
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 20
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                     Page 73                                                      Page 75
   1   decline to answer on Fifth Amendment grounds.            1   databases at Mesa County, the election databases.
   2         Q (By Mr. Cain) Because help me with the --        2               MR. GESSLER: I'll advise my client to
   3   the timeline. I would love for you to help me with       3   decline to answer on Fifth Amendment grounds.
   4   the timeline, I should say. There was the election       4         Q (By Mr. Cain) And specifically the
   5   in November 2020, and then thereafter there was          5   tabulation databases.
   6   this process called the trusted build.                   6               MR. GESSLER: I'll advise my client to
   7              You know what that is, right?                 7   decline to answer on Fifth Amendment grounds.
   8              MR. GESSLER: I'll advise my client to         8         Q (By Mr. Cain) Can you even give me like a
   9   decline to answer on Fifth Amendment grounds.            9   rough estimate of the -- of the percentage of votes
  10         Q (By Mr. Cain) And that trusted build went       10   you claim were switched from one party to another
  11   as required by statute and you didn't have any          11   or from one candidate to another?
  12   concerns arising from that, did you?                    12               MR. GESSLER: I'll advise my client to
  13              MR. GESSLER: I'll advise my client to        13   decline to answer on Fifth Amendment grounds.
  14   decline to answer on Fifth Amendment grounds.           14         Q (By Mr. Cain) After the vote was
  15         Q (By Mr. Cain) If there was any issue in         15   completed, did you certify the election results on
  16   the trusted build as it relates to the conduct of       16   behalf of Mesa County?
  17   the Secretary of State's office, please provide me      17               MR. GESSLER: I'll advise my client to
  18   with that information now.                              18   decline to answer on Fifth Amendment grounds.
  19              MR. GESSLER: Is that a question?             19         Q (By Mr. Cain) Did you participate in a
  20              MR. CAIN: Yes.                               20   risk-limiting audit after the election was over to
  21              MR. GESSLER: I'll advise my client to        21   determine whether or not the results were accurate?
  22   decline to answer on Fifth Amendment grounds.           22               MR. GESSLER: I'll advise my client to
  23         Q (By Mr. Cain) Discoverable if you write         23   decline to answer on Fifth Amendment grounds.
  24   it down, ma'am.                                         24         Q (By Mr. Cain) Because you know that the
  25         A    Oh, okay.                                    25   risk-limiting audits involve a comparison of a

                                                    Page 74                                                      Page 76
   1        Q      You might want to cross it out.              1   certain number of ballots to the electronic
   2        A      Are you telling me to delete something?      2   records, so you go back and double-check to make
   3               MR. GESSLER: Let's --                        3   sure that that was accurate, right?
   4         Q (By Mr. Cain) You can either give it to          4              MR. GESSLER: I'll advise my client to
   5   me -- but if you're going to write down notes            5   decline to answer on Fifth Amendment grounds.
   6   relating to your testimony in aid of your                6         Q (By Mr. Cain) And while I'm thinking
   7   testimony, it's discoverable.                            7   about it, you know what adjudication is, obviously,
   8         A     I'm just...                                  8   given your position, right?
   9               MR. GESSLER: Okay. Let's...                  9              MR. GESSLER: I'll advise my client to
  10         A     Okay. Go ahead.                             10   decline to answer on Fifth Amendment grounds.
  11         Q (By Mr. Cain) Was Ms. Boebert part of           11         Q (By Mr. Cain) In Mesa County when there
  12   either talking to Conan Hayes about imaging or were     12   were ballots flagged for adjudication, those
  13   you in communication with her when this was             13   ballots would go to a bipartisan group -- in other
  14   occurring?                                              14   words, one Republican and one Democrat -- for them
  15               MR. GESSLER: I'll advise my client to       15   to review the questioned ballot, right?
  16   decline to answer on Fifth Amendment grounds.           16              MR. GESSLER: I'll advise my client to
  17         Q (By Mr. Cain) Or since then. Since the          17   decline to answer on Fifth Amendment grounds.
  18   April time frame in 2021, have you had any              18         Q (By Mr. Cain) And then doesn't the
  19   discussions with Ms. Boebert about the imaging that     19   Dominion Voting Systems software create a record of
  20   occurred of the Mesa County server?                     20   the adjudication so you know who was involved with
  21               MR. GESSLER: I'll advise my client to       21   it and what the decision was made when there's a
  22   decline to answer on Fifth Amendment grounds.           22   question ballot? Doesn't it do that for you?
  23         Q (By Mr. Cain) Or any discussions with her       23              MR. GESSLER: I'll advise my client to
  24   about the conduct of Dominion and specifically          24   decline to answer on Fifth Amendment grounds.
  25   Dr. Coomer as it relates to manipulation of the         25         Q (By Mr. Cain) I'm just trying to figure

                                       Western Colorado Court Reporting (970)778-5711                      (19) Pages 73 - 76
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 21
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                    Page 77                                                         Page 79
   1   out, since you've made these statements about              1         Q (By Mr. Cain) So that was Clip 9. And
   2   algorithms publicly and Dr. Coomer, how did he do          2   that was from a program called Selection Code,
   3   it, you know? How did he -- how did he commit this         3   right?
   4   crime, ma'am?                                              4               MR. GESSLER: I'll advise my client to
   5              MR. GESSLER: I'll advise my client to           5   decline to answer on Fifth Amendment grounds.
   6   decline to answer on Fifth Amendment grounds.              6         Q (By Mr. Cain) So while I'm thinking about
   7         Q (By Mr. Cain) Or how did -- how did                7   it, so that was published -- I actually don't
   8   Dominion do it, for that matter?                           8   remember when it was published, so I won't make a
   9              MR. GESSLER: I'll advise my client to           9   representation.
  10   decline to answer on Fifth Amendment grounds.             10               But how did that production come about?
  11         Q (By Mr. Cain) The truth is you don't              11   Why did you decide to make a program called
  12   know. Isn't that true? You don't know.                    12   Selection Code?
  13              MR. GESSLER: I'll advise my client to          13               MR. GESSLER: I'll advise my client to
  14   decline to answer on Fifth Amendment grounds.             14   decline to answer on Fifth Amendment grounds.
  15         Q (By Mr. Cain) It hasn't stopped you from          15         Q (By Mr. Cain) Mr. Kloewer says August
  16   making public statements, but you don't know.             16   2020 is when Selection Code came out. Is that --
  17              MR. GESSLER: I'll advise my client to          17   2022. Pardon me.
  18   decline to answer on Fifth Amendment grounds.             18               Does that sound about right to you?
  19         Q (By Mr. Cain) Did your office maintain            19               MR. GESSLER: I'll advise my client to
  20   copy -- we touched on this, but I just want to make       20   decline to answer on Fifth Amendment grounds.
  21   sure I've asked it correctly.                             21         Q (By Mr. Cain) And as I was saying, do you
  22              Did your office maintain copies of the         22   know who produced it? Who produced that video?
  23   paper record of the November 2020 election?               23               MR. GESSLER: I'll advise my client to
  24              MR. GESSLER: I'll advise my client to          24   decline to answer on Fifth Amendment grounds.
  25   decline to answer on Fifth Amendment grounds.             25         Q (By Mr. Cain) Essentially that Selection

                                                       Page 78                                                       Page 80
   1          Q (By Mr. Cain) And I also alluded to this,         1   Code was a program designed to highlight the
   2   but at the end of the day, despite what you're             2   alleged irregularities with the Mesa County
   3   saying now, you called this a gold standard                3   election and your role, right?
   4   election, or some -- some words to that effect.            4              MR. GESSLER: I'll advise my client to
   5                Do you remember doing that?                   5   decline to answer on Fifth Amendment grounds.
   6                MR. GESSLER: I'll advise my client to         6         Q (By Mr. Cain) Were you paid actually to
   7   decline to answer on Fifth Amendment grounds.              7   appear in that, or what benefit was it to you?
   8          Q (By Mr. Cain) But something changed and I         8              MR. GESSLER: I'll advise my client to
   9   want to ask you about that, but before we do that,         9   decline to answer on Fifth Amendment grounds.
  10   let's look at what I'm referring to because I've          10         Q (By Mr. Cain) Do you have any written
  11   got a clip of it.                                         11   communications with either the producers -- well,
  12                MR. CAIN: Clip 9. Let's see if we can        12   the producers of that video about why you were
  13   get some volume. It'd probably help.                      13   going to be appearing in it and the purpose of you
  14                (Video playing.)                             14   appearing in it?
  15                TINA PETERS: I believe the night of the      15              MR. GESSLER: I'll advise my client to
  16          2020 election, I ran a gold standard election.     16   decline to answer on Fifth Amendment grounds.
  17          I sincerely do. And then after, you know, a        17         Q (By Mr. Cain) Looping back to that, I
  18          month or so, people kept coming to me and kept     18   asked a temporal question. That's lawyer for time
  19          coming to me. You know, there's something not      19   or timing. That was August of 2022, and we know
  20          right. And I knew there were things that           20   from public statements that your devices were
  21          didn't look right across the country, but I        21   taken, raided, seized, fill-in-the-whatever at some
  22          didn't think it happened in our town. I            22   point in time.
  23          really didn't. I had no reason to think that       23              Were they taken before August of 2022 or
  24          until April.                                       24   after or both? When were they seized?
  25                (Video stopped.)                             25              MR. GESSLER: I'll advise my client to

                                       Western Colorado Court Reporting (970)778-5711                         (20) Pages 77 - 80
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 22
                                    of 43
                                              TINA PETERS - November 7, 2022

                                                     Page 81                                                  Page 83
   1   decline to answer on Fifth Amendment grounds.            1   2021?
   2         Q (By Mr. Cain) And have you -- have you           2              MR. GESSLER: I'll advise my client to
   3   received any of those devices back? You know, they       3   decline to answer on Fifth Amendment grounds.
   4   may image them and then return the originals to          4        Q (By Mr. Cain) May 26, somewhere around
   5   you. Have they?                                          5   there. Does that strike a bell?
   6              MR. GESSLER: I'll advise my client to         6              MR. GESSLER: I'll advise my client to
   7   decline to answer on Fifth Amendment grounds.            7   decline to answer on Fifth Amendment grounds.
   8         Q (By Mr. Cain) Isn't it true you appeared         8        Q (By Mr. Cain) So before May -- this is
   9   in Selection Code, at least in part, to continue         9   the way the calendar works -- April occurred. So
  10   the narrative that the 2020 election was stolen?        10   something in April before the trusted build changed
  11              MR. GESSLER: I'll advise my client to        11   your mind about how the election was run.
  12   decline to answer on Fifth Amendment grounds.           12              Is that a fair statement?
  13         Q (By Mr. Cain) And you're doing that same        13              MR. GESSLER: I'll advise my client to
  14   narrative to this day, aren't you?                      14   decline to answer on Fifth Amendment grounds.
  15              MR. GESSLER: I'll advise my client to        15        Q (By Mr. Cain) And that's when you
  16   decline to answer on Fifth Amendment grounds.           16   decided, as the Mesa County Clerk, to have the hard
  17         Q (By Mr. Cain) Why did you say that it was       17   drive imaged prior to the trusted build, right?
  18   a gold standard election?                               18              MR. GESSLER: I'll advise my client to
  19              MR. GESSLER: I'll advise my client to        19   decline to answer on Fifth Amendment grounds.
  20   decline to answer on Fifth Amendment grounds.           20        Q (By Mr. Cain) Did you know -- at the time
  21         Q (By Mr. Cain) Well, we looked at -- well,       21   of the trusted build, did you know a gentleman by
  22   strike that.                                            22   the name of Patrick Byrne?
  23              You also said towards the end of that        23              MR. GESSLER: I'll advise my client to
  24   clip that something happened in April of 2021 that      24   decline to answer on Fifth Amendment grounds.
  25   changed your mind.                                      25        Q (By Mr. Cain) Can you describe what your

                                                     Page 82                                                     Page 84
   1               Do you remember that statement?              1   relationship is with Patrick Byrne, if any?
   2               MR. GESSLER: I'll advise my client to        2              MR. GESSLER: I'll advise my client to
   3   decline to answer on Fifth Amendment grounds.            3   decline to answer on Fifth Amendment grounds.
   4        Q (By Mr. Cain) You also said people kept           4         Q (By Mr. Cain) Did you contact Mr.
   5   coming at you saying there's irregularities, or          5   Byrne -- or let me put it this way.
   6   words to that effect, leading up to April of 2021.       6              Were you in contact with Mr. Byrne
   7               Remember that?                               7   regarding the trusted build and the fact that there
   8               MR. GESSLER: I'll advise my client to        8   would be a non-County employee present? Were you
   9   decline to answer on Fifth Amendment grounds.            9   in contact with Mr. Byrne about that?
  10        Q (By Mr. Cain) So what happened in April          10              MR. GESSLER: I'll advise my client to
  11   of 2021 that changed your mind allegedly about the      11   decline to answer on Fifth Amendment grounds.
  12   handling of the election?                               12         Q (By Mr. Cain) And specifically I'm asking
  13               MR. GESSLER: I'll advise my client to       13   whether or not you were in contact with Mr. Byrne
  14   decline to answer on Fifth Amendment grounds.           14   about Conan Hayes attending.
  15        Q (By Mr. Cain) Because you know it's one          15              MR. GESSLER: I'll advise my client to
  16   thing to go on a podcast or a TV show and say one       16   decline to answer on Fifth Amendment grounds.
  17   thing. It's another thing to sit here under oath        17         Q (By Mr. Cain) Did you see Mr. Hayes on
  18   and actually explain what you mean by those things.     18   his phone communicating with Patrick Byrne during
  19               So what did you mean when you said          19   the trusted build?
  20   something happened in April 2021 that changed your      20              MR. GESSLER: I'll advise my client to
  21   mind?                                                   21   decline to answer on Fifth Amendment grounds.
  22               MR. GESSLER: I'll advise my client to       22         Q (By Mr. Cain) And just to put this in
  23   decline to answer on Fifth Amendment grounds.           23   perspective -- and part of the reason I'm asking
  24        Q (By Mr. Cain) Well, we know that the             24   you these questions is the overall narrative of the
  25   trusted build -- was that scheduled for May of          25   election being rigged. And as I understand the

                                      Western Colorado Court Reporting (970)778-5711                     (21) Pages 81 - 84
                                           www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 23
                                    of 43
                                                 TINA PETERS - November 7, 2022

                                                        Page 85                                                         Page 87
   1   timeline -- correct me if I'm wrong -- you had              1   decline to answer on Fifth Amendment grounds.
   2   Mr. Hayes come in and image the hard drives in              2         Q (By Mr. Cain) Cat's out of the bag. That
   3   April, then you had the trusted build in May, and           3   is not a question.
   4   then after the trusted build, you had a separate            4                Let's talk -- I do want to ask you about
   5   image done so that you could kind of have a before          5   Byrne. I know you haven't answered any questions
   6   and after.                                                  6   about him yet, but let's look at Clip 11. It's a
   7               That's essentially what happened, right?        7   short clip of Mr. Byrne regarding this issue.
   8               MR. GESSLER: I'll advise my client to           8                (Video playing.)
   9   decline to answer on Fifth Amendment grounds.               9                PATRICK BYRNE: He actually called me
  10         Q (By Mr. Cain) Why can't -- while I'm               10         from the middle -- he was sitting next to them
  11   thinking about it, if -- if all of this software           11         at one point that day. This was back, I
  12   and tabulators are allegedly hooked into the               12         think, in May, May or June of last year. He
  13   Internet, why can't the Secretary of State's office        13         actually called me on Facetime and he sat
  14   just do this remotely?                                     14         there telling me I can't believe what I'm
  15               MR. GESSLER: I'll advise my client to          15         seeing. I'm seeing these people commit a
  16   decline to answer on Fifth Amendment grounds.              16         fel -- a million felonies right next to me.
  17         Q (By Mr. Cain) And the answer is -- the             17         And he had the Facetime up so I could see the
  18   reason is is because they are not connected to the         18         people doing what they were doing. And he
  19   Internet and the Secretary of State can't do it            19         also took some videos of them doing what they
  20   remotely; isn't that true?                                 20         were doing, which is highly illegal.
  21               MR. GESSLER: I'll advise my client to          21                (Video stopped.)
  22   decline to answer on Fifth Amendment grounds.              22         Q (By Mr. Cain) Did you see or witness any
  23         Q (By Mr. Cain) In fact, it's standard               23   of this exchange that Mr. Byrne is referring to on
  24   practice for members of the Secretary of State's           24   this video?
  25   office to personally appear along with members of          25                MR. GESSLER: I'll advise my client to

                                                     Page 86                                                         Page 88
   1   the voting system company during the trusted build          1   decline to answer on Fifth Amendment grounds.
   2   process, true?                                              2        Q (By Mr. Cain) He also referenced some
   3              MR. GESSLER: I'll advise my client to            3   video being taken.
   4   decline to answer on Fifth Amendment grounds.               4              Are you in possession of any of that
   5        Q (By Mr. Cain) And part of what they say              5   video?
   6   to you, and did in this case, is when that process          6              MR. GESSLER: I'll advise my client to
   7   is going to happen, correct?                                7   decline to answer on Fifth Amendment grounds.
   8              MR. GESSLER: I'll advise my client to            8        Q (By Mr. Cain) In fact, you took some
   9   decline to answer on Fifth Amendment grounds.               9   video, didn't you, yourself of the trusted build?
  10        Q (By Mr. Cain) And they -- they request              10   Like you did it on your device, didn't you?
  11   and you are required to tell them who from the             11              MR. GESSLER: I'll advise my client to
  12   County is going to be present during the trusted           12   decline to answer on Fifth Amendment grounds.
  13   build process, true?                                       13        Q (By Mr. Cain) So going back to Byrne, did
  14              MR. GESSLER: I'll advise my client to           14   he have a financial role in underwriting any of
  15   decline to answer on Fifth Amendment grounds.              15   these activities of Mr. Hayes? Like did he pay for
  16        Q (By Mr. Cain) And so as it happens,                 16   Mr. Hayes to be there?
  17   Mr. Wood wasn't there, but it was Mr. Hayes with           17              MR. GESSLER: I'll advise my client to
  18   Mr. Wood's badge, true?                                    18   decline to answer on Fifth Amendment grounds.
  19              MR. GESSLER: I'll advise my client to           19        Q (By Mr. Cain) Same question for
  20   decline to answer on Fifth Amendment grounds.              20   Mr. Lindell. Do you know whether or not he
  21        Q (By Mr. Cain) I mean, you've said as much           21   financially supported the activities of Mr. Hayes
  22   publicly, so what is this -- what about being under        22   in scanning the hard drives and copying them?
  23   oath is causing you to have some fear of criminal          23              MR. GESSLER: I'll advise my client to
  24   prosecution for this?                                      24   decline to answer on Fifth Amendment grounds.
  25              MR. GESSLER: I'll advise my client to           25        Q (By Mr. Cain) And once you got these

                                         Western Colorado Court Reporting (970)778-5711                         (22) Pages 85 - 88
                                              www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 24
                                    of 43
                                                TINA PETERS - November 7, 2022

                                                     Page 89                                                        Page 91
   1   images, identify every person, to your knowledge,          1          Q   (By Mr. Cain) Did he personally invite
   2   that actually received a copy of the image, if you         2   you?
   3   know?                                                      3               MR. GESSLER: I'll advise my client to
   4               MR. GESSLER: I'll advise -- I'll advise        4   decline to answer on Fifth Amendment grounds.
   5   my client to decline to answer on Fifth Amendment          5         Q (By Mr. Cain) And did he come to Grand
   6   grounds.                                                   6   Junction where we're here sitting today and pick
   7         Q (By Mr. Cain) Do you know whether or               7   you up on his plane and take you to South Dakota
   8   not -- well, strike that.                                  8   with him?
   9               You do know just as a matter of fact that      9               MR. GESSLER: I'll advise my client to
  10   those images appeared during the cyber symposium.         10   decline to answer on Fifth Amendment grounds.
  11   That was part of one of the presentations, wasn't         11         Q (By Mr. Cain) And was Mr. Oltmann on that
  12   it?                                                       12   flight with you up to South Dakota?
  13               MR. GESSLER: I'll advise my client to         13               MR. GESSLER: I'll advise my client to
  14   decline to answer on Fifth Amendment grounds.             14   decline to answer on Fifth Amendment grounds.
  15         Q (By Mr. Cain) Because -- because that             15         Q (By Mr. Cain) Did you have the occasion
  16   cyber symposium, as you understood it, was going to       16   to talk to Mr. Oltmann and Mr. -- with Mr. Lindell
  17   be Mr. Lindell's vehicle for presenting election          17   in his presence about Dr. Coomer and Dominion?
  18   fraud data, whether it was in the form of the             18               MR. GESSLER: I'll advise my client to
  19   images you acquired or something called PCAPs.            19   decline to answer on Fifth Amendment grounds.
  20               Is that your understanding?                   20         Q (By Mr. Cain) Because everything -- it's
  21               MR. GESSLER: I'll advise my client to         21   true. Everything you know about Dr. Coomer
  22   decline to answer on Fifth Amendment grounds.             22   ultimately originated with Joe Oltmann, didn't it?
  23               MR. CAIN: PCAPs is P-C-A-P. I believe         23               MR. GESSLER: I'll advise my client to
  24   it stands for packet captures. I have now                 24   decline to answer on Fifth Amendment grounds.
  25   exhausted my entire knowledge of it.                      25         Q (By Mr. Cain) And were you there when

                                                       Page 90                                                      Page 92
   1          Q (By Mr. Cain) Were you involved at all            1   Mr. Oltmann told his story about Dr. Coomer at the
   2   in -- either your office or yourself in analyzing          2   cyber symposium?
   3   any of the packet capture data that was presented          3              MR. GESSLER: I'll advise my client to
   4   or to be presented at the cyber symposium?                 4   decline to answer on Fifth Amendment grounds.
   5               MR. GESSLER: I'll advise my client to          5         Q (By Mr. Cain) Because really what I'm --
   6   decline to answer on Fifth Amendment grounds.              6   I'm here, in part, to find out is what happened in
   7          Q (By Mr. Cain) Because you were there              7   that symposium? Were -- were there breakout
   8   we've -- well, I've asked you that and you haven't         8   sessions where you had discussions with Mr. Lindell
   9   answered it, but we do have video of you being             9   and Mr. Oltmann where the topic of Eric Coomer came
  10   there. We'll show that.                                   10   up or Dominion came up, and can you describe those
  11               But were you -- were you paid to attend       11   for us?
  12   this symposium? Is that why you were there?               12              MR. GESSLER: I'll advise my client to
  13               MR. GESSLER: I'll advise my client to         13   decline to answer on Fifth Amendment grounds.
  14   decline to answer on Fifth Amendment grounds.             14         Q (By Mr. Cain) Because the jury in our
  15          Q (By Mr. Cain) And you weren't planning on        15   case, ultimately, they're going to want to hear, I
  16   being a presenter, but you ended up being a               16   believe, about those discussions, if they occurred.
  17   presenter, in part at least, right?                       17   This is your chance to tell them what happened.
  18               MR. GESSLER: I'll advise my client to         18              Can you tell us about any discussions you
  19   decline to answer on Fifth Amendment grounds.             19   had with Mr. Lindell and Mr. Oltmann during this
  20          Q (By Mr. Cain) And just describe for me           20   symposium about Dr. Coomer?
  21   the events leading up to your attendance at the           21              MR. GESSLER: I'll advise my client to
  22   cyber symposium and specifically your interactions        22   decline to answer on Fifth Amendment grounds.
  23   with Mr. Lindell.                                         23         Q (By Mr. Cain) So I think the symposium --
  24               MR. GESSLER: I'll advise my client to         24   correct me if I'm wrong -- was three days? And it
  25   decline to answer on Fifth Amendment grounds.             25   was day three that Mr. Oltmann was on his panel?

                                        Western Colorado Court Reporting (970)778-5711                        (23) Pages 89 - 92
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 25
                                    of 43
                                                TINA PETERS - November 7, 2022

                                                      Page 93                                                       Page 95
   1   Sorry. I'm asking Brad. He knows the answer to            1        election. Trump's not going to win. I made
   2   that one. I don't.                                        2        effing sure of it. I'm a Christian, so I'm
   3                 Were you there on day three, do you         3        not going to use that word.
   4   remember?                                                 4              DAVID CLEMENTS: Okay. So this is --
   5                 MR. GESSLER: I'll advise my client to       5        this is firsthand knowledge.
   6   decline to answer on Fifth Amendment grounds.             6              JOE OLTMANN: Yeah.
   7          Q (By Mr. Cain) Well, I want to see if you         7              DAVID CLEMENTS: This isn't -- he's
   8   were there for this particular portion, and then,         8        telling you -- in a court of law, we should be
   9   you know, what your reaction was to it, if you had        9        able -- you know, Eric Coomer can confront his
  10   any. So let's look at Clip 8.                            10        accusers. He's been accused of something --
  11                 MR. CAIN: And play it as loud -- a         11              JOE OLTMANN: Yeah.
  12   little louder, if you can, because Candice is            12              DAVID CLEMENTS: -- pretty salacious.
  13   having a hard time hearing.                              13        But when you look at the screenshots, what are
  14                 (Video playing.)                           14        some of the things that you can show us, and
  15                 DAVID CLEMENTS: So let's -- let's          15        perhaps you'll show us later today --
  16          connect another dot really quick. You have to     16              JOE OLTMANN: Yeah.
  17          keep in mind that one of the major players in     17              DAVID CLEMENTS: -- that has been posted
  18          this is Eric Coomer. Eric Coomer was -- was       18        by Eric Coomer? Because we've got this Antifa
  19          or is a vice president of Dominion Systems.       19        judge with a person that's affiliated with
  20                 JOE OLTMANN: Yes.                          20        Antifa that's made a promise about the
  21                 DAVID CLEMENTS: And what particular        21        election outcome.
  22          title does he have as vice president?             22              JOE OLTMANN: Well, I think the important
  23                 JOE OLTMANN: He was -- he was the          23        part --
  24          director of security and strategy for Dominion    24              (Video stopped.)
  25          Voting Systems. He holds the adjudication         25        Q (By Mr. Cain) Okay. So, you know, this

                                                   Page 94                                                          Page 96
   1       patent that was assigned to, I think, HSBC as         1   panel went on for a while, but as it relates to
   2       a -- as a guarantor on it.                            2   Coomer, were you sitting there when they were
   3             DAVID CLEMENTS: Well, follow me here.           3   talking about this?
   4       There's a few other questions. Now, you               4               MR. GESSLER: I'll advise my client to
   5       mentioned that your presiding judge was               5   decline to answer on Fifth Amendment grounds.
   6       marching in Antifa rallies last summer.               6          Q (By Mr. Cain) That fellow on the right,
   7             JOE OLTMANN: Yes.                               7   do you know who he is, looking back at the clip?
   8             DAVID CLEMENTS: Were you not the person         8   He's got a baseball cap on. Do you know who he is?
   9       who disclosed screenshots of social media             9               MR. GESSLER: I'll advise my client to
  10       posts that also shows that Eric Coomer has           10   decline to answer on Fifth Amendment grounds.
  11       deep ties with Antifa?                               11          Q (By Mr. Cain) Did you have any contact
  12             JOE OLTMANN: 100 percent.                      12   with a gentleman named Josh Merritt during the
  13             DAVID CLEMENTS: Okay. And were you not         13   cyber symposium?
  14       also on a phone call with Eric Coomer or some        14               MR. GESSLER: I'll advise my client to
  15       recording where he made a particular                 15   decline to answer on Fifth Amendment grounds.
  16       controversial statement about our then               16          Q (By Mr. Cain) Were you aware of
  17       president?                                           17   Mr. Merritt's position about the fact that the PCAP
  18             JOE OLTMANN: Yeah. So -- yes.                  18   data that was supposedly being supplied did not --
  19             DAVID CLEMENTS: What was that statement?       19   let's just say it wasn't what was represented.
  20             JOE OLTMANN: He said that don't worry          20               Do you remember any discussions about
  21       about the election -- what's that?                   21   that?
  22             PHIL WALDRON: He's in full-on lawyer           22               MR. GESSLER: I'll advise my client to
  23      mode. He's like...                                    23   decline to answer on Fifth Amendment grounds.
  24             JOE OLTMANN: Yeah, he's a lawyer. I'm          24          Q (By Mr. Cain) This whole symposium, isn't
  25       like, yes, sir. Don't worry about the                25   it your view, was to show proof, as Mike Lindell

                                        Western Colorado Court Reporting (970)778-5711                      (24) Pages 93 - 96
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 26
                                    of 43
                                                TINA PETERS - November 7, 2022

                                                    Page 97                                                       Page 99
   1   would say, about the evidence of the rigging of the        1   other attendees were charged to be there?
   2   2020 election; is that fair?                               2              MR. GESSLER: I'll advise my client to
   3              MR. GESSLER: I'll advise my client to           3   decline to answer on Fifth Amendment grounds.
   4   decline to answer on Fifth Amendment grounds.              4         Q (By Mr. Cain) And approximately how many
   5         Q (By Mr. Cain) So what part of what was             5   people were in attendance during the time that you
   6   presented did you find to be particularly credible,        6   were there?
   7   if anything?                                               7              MR. GESSLER: I'll advise my client to
   8              MR. GESSLER: I'll advise my client to           8   decline to answer on Fifth Amendment grounds.
   9   decline to answer on Fifth Amendment grounds.              9         Q (By Mr. Cain) All right. Ma'am, at one
  10         Q (By Mr. Cain) And how many times have you         10   point, Ron Watkins made an appearance at the
  11   heard Joe Oltmann tell this story, including this         11   symposium, and we touched on him earlier. Remind
  12   time at the cyber symposium? Can you estimate that        12   me -- strike remind me.
  13   for me?                                                   13              When did you first meet Ron Watkins, if
  14              MR. GESSLER: I'll advise my client to          14   at all?
  15   decline to answer on Fifth Amendment grounds.             15              MR. GESSLER: I'll advise my client to
  16         Q (By Mr. Cain) And if you look at this             16   decline to answer on Fifth Amendment grounds.
  17   where we stopped it, it references free programming       17         Q (By Mr. Cain) Who would have introduced
  18   at Lindell TV and then something called                   18   you to him?
  19   FrankSpeech.com.                                          19              MR. GESSLER: I'll advise my client to
  20              Do you have any affiliations with any of       20   decline to answer on Fifth Amendment grounds.
  21   those entities, either Lindell TV, FrankSpeech,           21         Q (By Mr. Cain) What do you know about Ron
  22   anything related to Mike Lindell?                         22   Watkins' background?
  23              MR. GESSLER: I'll advise my client to          23              MR. GESSLER: I'll advise my client to
  24   decline to answer on Fifth Amendment grounds.             24   decline to answer on Fifth Amendment grounds.
  25         Q (By Mr. Cain) And while I'm -- while I'm          25         Q (By Mr. Cain) I mean, you know he's

                                                       Page 98                                                     Page 100
   1   on that -- that subject, there's a lawsuit -- our          1   associated or was associated with the QAnon group
   2   lawsuit, I should say, also has included as                2   or movement, right?
   3   defendants the MyPillow organization                       3              MR. GESSLER: I'll advise my client to
   4   and FrankSpeech.                                           4   decline to answer on Fifth Amendment grounds.
   5               Have you had any discussions with              5         Q (By Mr. Cain) You know about his role at
   6   individuals you understand to be either officers,          6   4chan, for example?
   7   directors, or employees of either of those                 7              MR. GESSLER: I'll advise my client to
   8   companies about Dr. Coomer?                                8   decline to answer on Fifth Amendment grounds.
   9               MR. GESSLER: I'll advise my client to          9              MR. CAIN: That's the number 4-C-H-A-N.
  10   decline to answer on Fifth Amendment grounds.             10         Q (By Mr. Cain) Are you still -- or, well,
  11         Q (By Mr. Cain) Have you had any                    11   are you in touch with Mr. Watkins at this point?
  12   discussions with anybody associated with MyPillow         12              MR. GESSLER: I'll advise my client to
  13   or FrankSpeech about their role, if any, in the           13   decline to answer on Fifth Amendment grounds.
  14   cyber symposium? Did they talk to you about their         14         Q (By Mr. Cain) For example, when was the
  15   relationship?                                             15   last time you guys had a conversation or a
  16               MR. GESSLER: I'll advise my client to         16   communication?
  17   decline to answer on Fifth Amendment grounds.             17              MR. GESSLER: I'll advise my client to
  18         Q (By Mr. Cain) Did you have -- and pardon          18   decline to answer on Fifth Amendment grounds.
  19   me. I don't remember if I asked you this, but I           19         Q (By Mr. Cain) But you do remember him
  20   may have.                                                 20   having an issue with actually reviewing the data
  21               But how much did it cost you to attend        21   that was provided from your office as a result of
  22   that symposium?                                           22   imaging these hard drives. Don't you remember
  23               MR. GESSLER: I'll advise my client to         23   that?
  24   decline to answer on Fifth Amendment grounds.             24              MR. GESSLER: I'll advise my client to
  25         Q (By Mr. Cain) And do you remember what            25   decline to answer on Fifth Amendment grounds.

                                        Western Colorado Court Reporting (970)778-5711                     (25) Pages 97 - 100
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 27
                                    of 43
                                              TINA PETERS - November 7, 2022

                                                     Page 101                                                      Page 103
   1         Q (By Mr. Cain) And this is what I'm                1        drives.
   2   referring to.                                             2              UNIDENTIFIED SPEAKER: Hold on. No.
   3               MR. CAIN: Let's look at Clip 1.               3        Tina -- Tina says, no, that did not happen.
   4               (Video playing.)                              4        Okay. Ron, you may have heard that
   5               RON WATKINS: My lawyer -- my lawyer just      5        incorrectly, then. Thanks. Okay.
   6         called me, Ty Clevenger, Mr. Ty Clevenger, and      6              RON WATKINS: How about can Tina explain
   7         he said that I should put out this statement.       7        this, then, because I just got a call from my
   8         And I just learned that Conan James Hayes may       8        lawyer that he talked to Tina -- Tina to tell
   9         have taken, without authorization, the actual       9        me that.
  10         hard drives from the Mesa County -- or the         10              UNIDENTIFIED SPEAKER: Can we get Tina?
  11         Mesa, Colorado County Clerk, and he needs to       11              RON WATKINS: So now I'm confused.
  12         produce those hard drives immediately and          12              UNIDENTIFIED SPEAKER: Hey, Beth, can you
  13         return them to the clerk, and we should stop       13        have Tina call her lawyer? Isn't this cool?
  14         this data review until he produces the hard        14        This is real life right here, man. You know,
  15         drives.                                            15        20 years from now, you're going to be telling
  16               DOUGLAS FRANK: Repeat that.                  16        your kids, I was there that day.
  17               UNIDENTIFIED SPEAKER: Ron, Ron, did you      17              UNIDENTIFIED SPEAKER: Can I -- can I
  18         just say --                                        18        just -- about your audits, that we did an
  19               DOUGLAS FRANK: Everybody, this is            19        audit --
  20         important.                                         20              (Video stopped.)
  21               UNIDENTIFIED SPEAKER: Quiet, quiet.          21        Q (By Mr. Cain) So you were in the
  22               UNIDENTIFIED SPEAKER: Yeah, this is          22   audience, obviously, when -- when that occurred,
  23         really important, guys.                            23   right?
  24               DOUGLAS FRANK: This is important, this       24              MR. GESSLER: I'll advise my client to
  25         is important. Everybody quiet.                     25   decline to answer on Fifth Amendment grounds.

                                                   Page 102                                                       Page 104
   1              UNIDENTIFIED SPEAKER: Ron, did you just        1         Q (By Mr. Cain) And you actually -- as I
   2        say that someone took all of the hard drives         2   alluded to, you actually got up to explain the
   3        from the Mesa County office just now?                3   situation shortly thereafter, right?
   4              RON WATKINS: So what I said was I just         4              MR. GESSLER: I'll advise my client to
   5        learned that Conan James Hayes may have taken,       5   decline to answer on Fifth Amendment grounds.
   6        without authorization, the actual hard drives        6         Q (By Mr. Cain) Because the -- the truth
   7        from the Mesa Colorado County Clerk, and he          7   was that the actual hard drives weren't taken.
   8        needs to produce those hard drives immediately       8   They were just imaged. That's the distinction,
   9        and return them to the clerk.                        9   right?
  10              UNIDENTIFIED SPEAKER: No.                     10              MR. GESSLER: I'll advise my client to
  11              UNIDENTIFIED SPEAKER: Hold on.                11   decline to answer on Fifth Amendment grounds.
  12              RON WATKINS: And we should stop this          12         Q (By Mr. Cain) The physical hard drives
  13        data review --                                      13   stayed on County property, didn't they?
  14              UNIDENTIFIED SPEAKER: Hold on.                14              MR. GESSLER: I'll advise my client to
  15              UNIDENTIFIED SPEAKER: Somebody from --        15   decline to answer on Fifth Amendment grounds.
  16        from Mesa. He knows.                                16         Q (By Mr. Cain) So why -- I'm just -- kind
  17              UNIDENTIFIED SPEAKER: No. Tina said,          17   of a 10,000-foot view of this.
  18        no, that didn't happen.                             18              What was Mr. Lindell telling you on the
  19              UNIDENTIFIED SPEAKER: No, that did not        19   sidelines of this about why this information was
  20        happen.                                             20   being presented to members of this symposium, if
  21              UNIDENTIFIED SPEAKER: Tina just told me       21   anything?
  22        that.                                               22              MR. GESSLER: I'll advise my client to
  23              UNIDENTIFIED SPEAKER: Tina just said          23   decline to answer on Fifth Amendment grounds.
  24        that did not happen.                                24         Q (By Mr. Cain) Why did you feel like you
  25              RON WATKINS: The actual physical hard         25   had to explain what was going on during the

                                       Western Colorado Court Reporting (970)778-5711                     (26) Pages 101 - 104
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 28
                                    of 43
                                                TINA PETERS - November 7, 2022

                                                       Page 105                                                       Page 107
   1   symposium after Mr. Watkins said something about            1        not my chief deputy, who is the acting clerk
   2   it?                                                         2        in my absence. No one was allowed to be in
   3              MR. GESSLER: I'll advise my client to            3        there with them when they were there
   4   decline to answer on Fifth Amendment grounds.               4        yesterday, so --
   5        Q (By Mr. Cain) Because you weren't                    5              DOUGLAS FRANK: Is there anything else
   6   scheduled to actually be on stage, were you?                6        you want to say to us, because we are not
   7              MR. GESSLER: I'll advise my client to            7        allowed legally to let you answer Q and A
   8   decline to answer on Fifth Amendment grounds.               8        right now.
   9        Q (By Mr. Cain) Let's take a look at your              9              TINA PETERS: Okay.
  10   explanation.                                               10              DOUGLAS FRANK: I just got the notice.
  11              MR. CAIN: It's Clip 3.                          11              TINA PETERS: All right.
  12              (Video playing.)                                12              DOUGLAS FRANK: Anything else you want to
  13              TINA PETERS: I can assure you that none         13        say?
  14        of Mesa County or the Secretary of State or           14              TINA PETERS: No, I just -- I think
  15        any type of -- of property was taken off of           15        Amer --
  16        my -- off the -- my -- my office. Let me just         16              DOUGLAS FRANK: Besides the fact that
  17        put it that way.                                      17        you're amazing.
  18              DOUGLAS FRANK: How do you know? You're          18              (Video stopped.)
  19        not there.                                            19        Q (By Mr. Cain) So that was you, right, up
  20              TINA PETERS: Well, now, they came in and        20   on stage?
  21        did a -- a raid of my office, so it could have        21              MR. GESSLER: I'll advise my client to
  22        been.                                                 22   decline to answer on Fifth Amendment grounds.
  23              DOUGLAS FRANK: Maybe that's what this           23        Q (By Mr. Cain) Your hair was a little
  24        report is, that when they went in and raided          24   longer, but it sure -- it looks and sounds like
  25        you, they took it then.                               25   you. That was you, right?

                                                    Page 106                                                            Page 108
   1              TINA PETERS: Okay. Well, then, what we           1              MR. GESSLER: I'll advise my client to
   2        need to do is we need to do another backup,            2   decline to answer on Fifth Amendment grounds.
   3        and we need to find out what they did when             3         Q (By Mr. Cain) And then that quacking
   4        they were there yesterday.                             4   sound that we heard at the end, that was -- that
   5              DOUGLAS FRANK: I didn't mean to argue            5   was actual -- someone off stage indicating that
   6        against you. I mean, I'm just trying to                6   they needed to stop discussion at that point,
   7        understand you.                                        7   right?
   8              TINA PETERS: Yeah.                               8              MR. GESSLER: I'll advise my client to
   9              DOUGLAS FRANK: So could you say again            9   decline to answer on Fifth Amendment grounds.
  10        what you just told us and what it really              10         Q (By Mr. Cain) Who -- which -- did you
  11        means? I didn't understand.                           11   have lawyers with you at the cyber symposium?
  12              TINA PETERS: Okay.                              12              MR. GESSLER: I'll advise my client to
  13              DOUGLAS FRANK: Yes.                             13   decline to answer on Fifth Amendment grounds.
  14              TINA PETERS: There was -- there was             14         Q (By Mr. Cain) Who was -- who was
  15        not -- nothing, no hard drives that belonged          15   representing you at that point, if you know?
  16        to our equipment that were taken off the              16              MR. GESSLER: I'll advise my client to
  17        premises from our election voting equipment.          17   decline to answer on Fifth Amendment grounds.
  18              AUDIENCE MEMBER: (Unintelligible.)              18         Q (By Mr. Cain) And who was -- and, again,
  19              TINA PETERS: Unless it happened when?           19   I'm not sure of the timing, but it's true, is it
  20              AUDIENCE MEMBER: During the raid.               20   not, that you did have some forensic auditors work
  21              TINA PETERS: Unless it happened during          21   with your attorneys as consultants in order to
  22        the raid. And that -- and they did not allow          22   produce reports about the election -- the Mesa
  23        anyone to be in there. There were no                  23   County election databases; isn't that true?
  24        bipartisan judges that were allowed to be in          24              MR. GESSLER: I'll advise my client to
  25        my election department yesterday. There was           25   decline to answer on Fifth Amendment grounds.

                                        Western Colorado Court Reporting (970)778-5711                        (27) Pages 105 - 108
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 29
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                     Page 109                                                     Page 111
   1         Q (By Mr. Cain) It was kind of a long               1              MR. GESSLER: I'll advise my client to
   2   question, but basically what I'm asking you is:           2   decline to answer on Fifth Amendment grounds.
   3   People associated with you, whether it's your             3         Q (By Mr. Cain) And who was that other
   4   attorneys or otherwise, have hired at least two           4   fellow with the bow tie on the stage with you?
   5   individuals to review the hard drive data and to          5              MR. GESSLER: I'll advise my client to
   6   opine on alleged issues with the databases                6   decline to answer on Fifth Amendment grounds.
   7   themselves, right?                                        7         Q (By Mr. Cain) Is that Dr. Frank? Can you
   8              MR. GESSLER: I'll advise my client to          8   identify him?
   9   decline to answer on Fifth Amendment grounds.             9              MR. GESSLER: I'll advise my client to
  10         Q (By Mr. Cain) And those folks -- bear            10   decline to answer on Fifth Amendment grounds.
  11   with me for just a second. I'm referring to --           11         Q (By Mr. Cain) Didn't that fellow -- we'll
  12              MR. CAIN: Are you okay?                       12   call him Dr. Frank.
  13              THE REPORTER: Uh-huh.                         13              Didn't he come down here and meet with
  14         Q (By Mr. Cain) I'm referring to a                 14   you to discuss this issue with the databases?
  15   gentleman named Jeffrey O'Donnell and a gentleman        15              MR. GESSLER: I'll advise my client to
  16   named Dr. Walter Daugherity.                             16   decline to answer on Fifth Amendment grounds.
  17           Do you know who they are?                        17         Q (By Mr. Cain) What is his affiliation
  18              MR. GESSLER: I'll advise my client to         18   with Mr. Lindell, if any?
  19   decline to answer on Fifth Amendment grounds.            19              MR. GESSLER: I'll advise my client to
  20         Q (By Mr. Cain) These are folks that have          20   decline to answer on Fifth Amendment grounds.
  21   looked at the data -- the same data that Ron             21         Q (By Mr. Cain) You probably know the
  22   Watkins was concerned about in the clip that we          22   answer to that, don't you?
  23   just saw, right?                                         23              MR. GESSLER: I'll advise my client to
  24              MR. GESSLER: I'll advise my client to         24   decline to answer on Fifth Amendment grounds.
  25   decline to answer on Fifth Amendment grounds.            25         Q (By Mr. Cain) Are you still in contact or

                                                    Page 110                                                         Page 112
   1         Q (By Mr. Cain) Who's paying those two              1   are you in contact -- let me say it that way --
   2   guys, O'Donnell and Daugherity?                           2   with Dr. Frank at this point?
   3              MR. GESSLER: I'll advise my client to          3                MR. GESSLER: I'll advise my client to
   4   decline to answer on Fifth Amendment grounds.             4   decline to answer on Fifth Amendment grounds.
   5         Q (By Mr. Cain) You're actually supporting          5         Q (By Mr. Cain) And how about Sherronna
   6   them in the notion that there was an issue or             6   Bishop? We haven't talked about her.
   7   multiple issues with the adjudication databases,          7                MR. CAIN: Let's look at Clip 2 from
   8   aren't you?                                               8   this, and I've got a few questions about her role,
   9              MR. GESSLER: I'll advise my client to          9   if any.
  10   decline to answer on Fifth Amendment grounds.            10                (Video playing.)
  11         Q (By Mr. Cain) You're actually arguing now        11                RON WATKINS: -- that Ty Clevenger
  12   that the gold standard election has issues with the      12         received was from Sherronna Bishop and now she
  13   databases that are the result of outside and             13         has informed Mr. Clevenger that Conan did have
  14   nefarious actors, right?                                 14         permission to take the hard drive but did not
  15              MR. GESSLER: I'll advise my client to         15         have permission to upload it. Ms. Bishop
  16   decline to answer on Fifth Amendment grounds.            16         indicated to Mr. Clevenger that she was an
  17         Q (By Mr. Cain) And so looping back to that        17         affiliate of Ms. Peters and now Mr. Clevenger
  18   video that we just saw, do you know who it was that      18         is not sure whether that is in truth.
  19   was advising you or the group to stop the                19                UNIDENTIFIED SPEAKER: So the question
  20   discussion about the hard drives?                        20         earlier was who's running our elections. I
  21              MR. GESSLER: I'll advise my client to         21         think that --
  22   decline to answer on Fifth Amendment grounds.            22                (Video stopped.)
  23         Q (By Mr. Cain) I mean, what made you              23         Q (By Mr. Cain) That was a change of
  24   decide that you needed to go up on that stage,           24   subject at the end. The initial part is what I
  25   ma'am?                                                   25   want to ask you about.

                                       Western Colorado Court Reporting (970)778-5711                      (28) Pages 109 - 112
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 30
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                      Page 113                                                    Page 115
   1               Who is Sherronna Bishop and what was her       1   symposium?
   2   role, if any, in the imaging of the hard drives?           2              MR. GESSLER: I'll advise my client to
   3               MR. GESSLER: I'll advise my client to          3   decline to answer on Fifth Amendment grounds.
   4   decline to answer on Fifth Amendment grounds.              4         Q (By Mr. Cain) Mr. Waldron is affiliated
   5         Q (By Mr. Cain) And you heard Ron Watkins            5   with a group called ASOG.
   6   say that Sherronna Bishop was -- he used the word,         6              Are you -- or do you know anybody at
   7   I think, "affiliate" or something like that.               7   ASOG?
   8               But was she authorized to act on your          8              MR. GESSLER: I'll advise my client to
   9   behalf at the cyber symposium?                             9   decline to answer on Fifth Amendment grounds.
  10               MR. GESSLER: I'll advise my client to         10         Q (By Mr. Cain) And did they have any
  11   decline to answer on Fifth Amendment grounds.             11   input, anyone at ASOG, on any of the reports that
  12         Q (By Mr. Cain) And was she part of or              12   were produced by the two consultants we discussed
  13   aware of the plan to image the hard drives prior to       13   earlier?
  14   the trusted build?                                        14              MR. GESSLER: I'll advise my client to
  15               MR. GESSLER: I'll advise my client to         15   decline to answer on Fifth Amendment grounds.
  16   decline to answer on Fifth Amendment grounds.             16         Q (By Mr. Cain) When I took Mr. Giuliani's
  17         Q (By Mr. Cain) And was she in the loop, if         17   deposition, he indicated that Mr. Waldron was
  18   you know, on not just the imaging, but the                18   someone who provided him with a substantial amount
  19   dissemination of that data outside of the County          19   of information concerning alleged hacking into the
  20   Clerk's office?                                           20   2020 election.
  21               MR. GESSLER: I'll advise my client to         21              Did Mr. Waldron provide you with any
  22   decline to answer on Fifth Amendment grounds.             22   information regarding Dr. Coomer being involved in
  23               THE REPORTER: I think both the witness        23   hacking the 2020 election?
  24   and I need a break.                                       24              MR. GESSLER: I'll advise my client to
  25               MR. GESSLER: Yeah, so it's 12:45.             25   decline to answer on Fifth Amendment grounds.

                                                      Page 114                                                     Page 116
   1               THE DEPONENT: Thank you.                       1         Q (By Mr. Cain) So another gentleman that
   2               MR. CAIN: Let's go off the record.             2   was on the clip that we looked at earlier where
   3               THE VIDEOGRAPHER: Okay. The time is            3   Mr. Oltmann was talking about Dr. Coomer and he
   4   12:46. We're off the record.                               4   made a reference to the lawyer asking him questions
   5               (Lunch recess.)                                5   and they had a chuckle, that lawyer is a guy named
   6               THE VIDEOGRAPHER: The time is 1:56.            6   David Clements.
   7   We're back on the record.                                  7              Do you know Mr. Clements?
   8         Q (By Mr. Cain) How was your lunch?                  8              MR. GESSLER: I'll advise my client to
   9         A     It was good. What did you have?                9   decline to answer on the basis of the Fifth
  10         Q     I had the chili.                              10   Amendment.
  11         A     Was it good?                                  11         Q (By Mr. Cain) Did you discuss with
  12         Q     Yes, it was. It was delightful. Thank         12   Mr. Clements any aspect of Dr. Coomer's role in the
  13   you for asking. A little rich.                            13   2020 election and supposedly being involved in
  14         A     I had the salmon BLT. Yeah, their food        14   rigging it?
  15   is very rich, but it's good.                              15              MR. GESSLER: I'll advise my client to
  16         Q     Well, let's jump back in. Before lunch,       16   decline to answer on Fifth Amendment grounds.
  17   we were talking about Sherronna Bishop a little           17         Q (By Mr. Cain) Do you know what the
  18   bit, but I want to ask you about another person by        18   relationship, if any, between David Clements is
  19   the name of Phil Waldron.                                 19   with Mike Lindell?
  20               Do you know Phil Waldron?                     20              MR. GESSLER: I'll advise my client to
  21               MR. GESSLER: I'll advise my client to         21   decline to answer on Fifth Amendment grounds.
  22   decline to answer on Fifth Amendment grounds.             22         Q (By Mr. Cain) And I neglected to mention
  23         Q (By Mr. Cain) Mr. Waldron appeared on             23   this when I was asking about Mr. Waldron.
  24   numerous panels during the cyber symposium.               24              Do you know whether there's any
  25               Did you speak with Mr. Waldron during the     25   relationship between Mr. Waldron and Mr. Lindell,

                                       Western Colorado Court Reporting (970)778-5711                     (29) Pages 113 - 116
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 31
                                    of 43
                                                 TINA PETERS - November 7, 2022

                                                      Page 117                                                       Page 119
   1   and, if so, what?                                            1               MR. GESSLER: I'll advise my client to
   2               MR. GESSLER: I'll advise my client to            2   decline to answer on Fifth Amendment grounds.
   3   decline to answer on Fifth Amendment grounds.                3         Q (By Mr. Cain) You'd agree with me that
   4         Q (By Mr. Cain) Now, do you remember the               4   this report was published on or about May 19, 2022,
   5   timing -- and, again, another item we touched on,            5   right?
   6   but I want to try to get this straight in my head.           6               MR. GESSLER: I'll advise my client to
   7               When did you actually complete your              7   decline to answer on Fifth Amendment grounds.
   8   participation in the Selection Code video that we            8         Q (By Mr. Cain) And, again, I like
   9   saw a clip from?                                             9   timelines. We talked about the Selection Code and
  10               MR. GESSLER: I'll advise my client to           10   when that came out, and that came out about the
  11   decline to answer on Fifth Amendment grounds.               11   same time you were served with my subpoena to be
  12         Q (By Mr. Cain) Do you know whether that              12   here today. And I'll represent to you that day was
  13   was before or after the district attorney,                  13   September 7, 2022; is that accurate?
  14   Mr. Rubinstein, published his report on May 19th of         14               MR. GESSLER: I'll advise my client to
  15   2022?                                                       15   decline to answer on Fifth Amendment grounds.
  16               MR. GESSLER: I'll advise my client to           16         Q (By Mr. Cain) So you would have at least
  17   decline to answer on Fifth Amendment grounds.               17   had access to this report before you made the
  18         Q (By Mr. Cain) In other words, were you in           18   statements about Dr. Coomer on the video we saw the
  19   possession of the district attorney's report before         19   day you were served, right?
  20   you provided your statements in the Selection Code          20               MR. GESSLER: I'll advise my client to
  21   film?                                                       21   decline to answer on Fifth Amendment grounds.
  22               MR. GESSLER: I'll advise my client to           22         Q (By Mr. Cain) Do you know why the
  23   decline to answer on Fifth Amendment grounds.               23   district attorney was issuing what appears to be a
  24               MR. CAIN: Well, let's do this.                  24   responsive report to the two experts associated
  25               Will you mark this.                             25   with you, Mr. O'Donnell and Mr. Daugherity?

                                                        Page 118                                                       Page 120
   1                (Exhibit 4 was marked.)                         1               MR. GESSLER: I'll advise my client to
   2                MR. CAIN: For those of you, Ryan in             2   decline to answer on Fifth Amendment grounds.
   3   particular, we're marking Deposition Exhibit 4, and          3         Q (By Mr. Cain) And as to those folks, it's
   4   it is, I'm sure, available online, but I'll                  4   fair to say that this report was in response to the
   5   describe it briefly. It's dated May 19, 2022                 5   third report that was issued by those two
   6   directed to the Mesa County Commissioners and the            6   consultants, true?
   7   Grand Junction City Council. Its author is Daniel            7               MR. GESSLER: I'll advise my client to
   8   Rubinstein and he's the district attorney of Mesa            8   decline to answer on Fifth Amendment grounds.
   9   County, and it's about -- I thought it was about             9         Q (By Mr. Cain) And so that we have this in
  10   20-some-odd pages, 20 -- 24 pages. And I'm going            10   one spot, as it relates to the third report, who
  11   to let the witness familiarize herself with it              11   paid Mr. O'Donnell and Mr. Daugherity to perform
  12   before I ask a question.                                    12   the work in Report No. 3?
  13           Q (By Mr. Cain) I'll just wait for you to           13               MR. GESSLER: I'll advise my client to
  14   look up, ma'am.                                             14   decline to answer on Fifth Amendment grounds.
  15           A    Okay.                                          15         Q (By Mr. Cain) At that time, when the
  16                (Deponent reviewing document.)                 16   third report was issued, which I believe was just a
  17           Q    And, ma'am, I'm not asking you to read a       17   couple of months before this, was Mr. Lindell
  18   28-page report line for line.                               18   financing your legal team?
  19           A    Well, there's a lot of pictures. What          19               MR. GESSLER: I'll advise my client to
  20   would you like for me to do here?                           20   decline to answer on Fifth Amendment grounds.
  21           Q    Familiarize yourself with it, at least         21         Q (By Mr. Cain) Or Mr. Byrne?
  22   enough to answer this question.                             22               MR. GESSLER: I'll advise my client to
  23           A    Okay.                                          23   decline to answer on Fifth Amendment grounds.
  24           Q    Have you seen it before I just handed it       24         Q (By Mr. Cain) Assuming you -- well, you
  25   to you today?                                               25   had access to this report. It was publicly

                                         Western Colorado Court Reporting (970)778-5711                      (30) Pages 117 - 120
                                              www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 32
                                    of 43
                                                TINA PETERS - November 7, 2022

                                                      Page 121                                                      Page 123
   1   available, was it not?                                      1               MR. GESSLER: I'll advise my client to
   2                MR. GESSLER: I'll advise my client to          2   decline to answer on Fifth Amendment grounds.
   3   decline to answer on Fifth Amendment grounds.               3         Q (By Mr. Cain) In other words, there are
   4          Q (By Mr. Cain) And I know you just looked           4   safeguards within the election software itself to
   5   at it. Did you read the part on the first page in           5   preserve the history of the election.
   6   the middle of the paragraph where attorney --               6               Do you understand that?
   7   District Attorney Rubinstein says: This                     7               MR. GESSLER: I'll advise my client to
   8   investigation -- referring to the investigation his         8   decline to answer on Fifth Amendment grounds.
   9   office performed. This investigation has revealed           9         Q (By Mr. Cain) Did you tell Mr. Lindell,
  10   that the second adjudication database in both the          10   for example, that the issues with the database had
  11   November 2020 general election and the April '21           11   been addressed, the so-called issues, by the
  12   Grand Junction municipal election was caused by            12   district attorney before the Selection Code was
  13   direct action of the former back office elections          13   published? Do you understand what I'm asking you?
  14   manager, Sandra Brown.                                     14               MR. GESSLER: I'll advise my client to
  15                You read that, didn't you?                    15   decline to answer on Fifth Amendment grounds.
  16                MR. GESSLER: I'll advise my client to         16         Q (By Mr. Cain) Something to the effect of,
  17   decline to answer on Fifth Amendment grounds.              17   Look, Mike, you know, we've got these consultants,
  18          Q (By Mr. Cain) So isn't it true, ma'am,            18   but we've got this other report from the district
  19   that just in terms of the issues -- the so-called          19   attorney that indicates that that happens when a
  20   issues with the databases, that the district --            20   County official makes this restart of the program.
  21   your own district attorney concluded that any              21               Did you have any discussions like that
  22   modifications to those databases or the creation of        22   with Mr. Lindell?
  23   a new database was the result of a County                  23               MR. GESSLER: I'll advise my client to
  24   official's input in resetting that database.               24   decline to answer on Fifth Amendment grounds.
  25                You know that, right?                         25         Q (By Mr. Cain) Or with the producers of

                                                       Page 122                                                     Page 124
   1               MR. GESSLER: I'll advise my client to           1   the Selection Code to the extent that they differ
   2   decline to answer on Fifth Amendment grounds.               2   from Mr. Lindell, did you have any of those
   3         Q (By Mr. Cain) I mean, you know, because             3   discussions?
   4   you worked in elections, that when you have --              4              MR. GESSLER: I'll advise my client to
   5   let's say it's an issue with adjudication and you           5   decline to answer on Fifth Amendment grounds.
   6   realize you have the wrong parameters set up, a             6         Q (By Mr. Cain) Did your office reach out,
   7   hypothetical. You have it set up to address                 7   to your knowledge, to Dominion Voting Systems or
   8   undervotes, you know, when there's -- someone               8   Dr. Coomer to ask for an explanation regarding any
   9   hasn't filled out the entire ballot, and your               9   changes in the databases associated with the
  10   adjudicator is catching that for adjudication and          10   election software?
  11   maybe you don't want that to happen because state          11              MR. GESSLER: I'll advise my client to
  12   law says you don't do that at -- at least at that          12   decline to answer on Fifth Amendment grounds.
  13   stage.                                                     13         Q (By Mr. Cain) In other words, don't you
  14               So are you with me on that general setup?      14   think it would have been important for these paid
  15               MR. GESSLER: I'll advise my client to          15   consultants, Mr. O'Donnell and Mr. Daugherity, to
  16   decline to answer on Fifth Amendment grounds.              16   actually discuss their findings with Dominion
  17         Q (By Mr. Cain) Don't you know or weren't            17   before trying to publish a report?
  18   you advised that if a County official restarts or          18              MR. GESSLER: I'll advise my client to
  19   resets the adjudicator -- or the adjudication              19   decline to answer on Fifth Amendment grounds.
  20   software at that point -- for example, Oh, look,           20         Q (By Mr. Cain) And before you made these
  21   we've got an issue, we've got to restart it -- that        21   allegations about so-called -- what did you say
  22   the system is designed to set -- to save the old           22   about Dr. Coomer? Bear with me for a second.
  23   database and then to create a new database based on        23   Where's that Tweet?
  24   a change in parameters?                                    24              Before you said something to the effect
  25               Are you familiar with that?                    25   of how it's possible for someone like Dr. Coomer to

                                        Western Colorado Court Reporting (970)778-5711                     (31) Pages 121 - 124
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 33
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                     Page 125                                                        Page 127
   1   change the algorithm in the voting machine?                1              MR. GESSLER: I'll advise my client to
   2              MR. GESSLER: I'll advise my client to           2   decline to answer on Fifth Amendment grounds.
   3   decline to answer on Fifth Amendment grounds.              3         Q (By Mr. Cain) And even if that needed to
   4         Q (By Mr. Cain) I mean, you made that                4   be investigated, don't you have the tools within
   5   statement, if we're to believe this deleted Tweet,         5   the County Clerk's office to perform an audit or a
   6   Exhibit 2, back in January of 2021 about                   6   recount, to look at the actual ballots? Don't you
   7   Dr. Coomer.                                                7   have that available to you?
   8              Remember that?                                  8              MR. GESSLER: I'll advise my client to
   9              MR. GESSLER: I'll advise my client to           9   decline to answer on Fifth Amendment grounds.
  10   decline to answer on Fifth Amendment grounds.             10         Q (By Mr. Cain) It's fair to say, at least
  11         Q (By Mr. Cain) And a little over a year            11   in elections based on your experience, that voting
  12   later, in May of 2022, you have a specific report         12   machine companies like Dominion are in contact with
  13   from the district attorney saying here's what's           13   the County Clerk's offices looking to both improve
  14   happened, and he has screenshots of Sandra Brown          14   the system and improve security features on the
  15   doing it, making the inputs.                              15   system, right?
  16              So why haven't you retracted this idea         16              MR. GESSLER: I'll advise my client to
  17   that Dr. Coomer could change the algorithm in a           17   decline to answer on Fifth Amendment grounds.
  18   voting machine? Why haven't you retracted that?           18         Q (By Mr. Cain) Did you ever reach out to
  19              MR. GESSLER: I'll advise my client to          19   anyone associated with Dominion Voting Systems to
  20   decline to answer on Fifth Amendment grounds.             20   discuss your concerns about potential hacking of
  21         Q (By Mr. Cain) Why haven't you said                21   their machines?
  22   something to clear his name after impugning his           22              MR. GESSLER: I'll advise my client to
  23   character? Why haven't you issued a retraction?           23   decline to answer on Fifth Amendment grounds.
  24              MR. GESSLER: I'll advise my client to          24         Q (By Mr. Cain) In other words, if --
  25   decline to answer on Fifth Amendment grounds.             25   wouldn't a prudent County Clerk, to the extent that

                                                      Page 126                                                       Page 128
   1         Q (By Mr. Cain) Has anybody accused you of           1   she believes there may be vulnerabilities, wouldn't
   2   rigging the 2020 election?                                 2   they want to reach out or wouldn't you want to
   3                MR. GESSLER: I'll advise my client to         3   reach out to either the Secretary of State's office
   4   decline to answer on Fifth Amendment grounds.              4   or to the voting company itself and start a
   5         Q (By Mr. Cain) If they had, would you               5   dialogue about where those vulnerabilities are
   6   demand a retraction? You'd want to clear your              6   coming from and how they might be addressed?
   7   name, wouldn't you?                                        7               MR. GESSLER: I'll advise my client to
   8                MR. GESSLER: I'll advise my client to         8   decline to answer on Fifth Amendment grounds.
   9   decline to answer on Fifth Amendment grounds.              9         Q (By Mr. Cain) Instead of blaming an
  10         Q (By Mr. Cain) Are you in communication            10   official with the voting company for hacking into
  11   with Sandra Brown?                                        11   the County's election system, which is what you
  12                MR. GESSLER: I'll advise my client to        12   essentially did, right?
  13   decline to answer on Fifth Amendment grounds.             13               MR. GESSLER: I'll advise my client to
  14         Q (By Mr. Cain) You have been ordered not           14   decline to answer on Fifth Amendment grounds.
  15   to communicate with officials -- current or former        15         Q (By Mr. Cain) Based on no evidence.
  16   officials with the district clerk's office,               16   Because if you've got evidence that Dr. Coomer
  17   right -- or the County Clerk's office? Pardon me.         17   hacked into this system, I'm all ears. This is
  18                MR. GESSLER: I'll advise my client to        18   your time to tell me.
  19   decline to answer on Fifth Amendment grounds.             19               MR. GESSLER: Is that a question?
  20         Q (By Mr. Cain) Did Sandra Brown explain to         20         Q (By Mr. Cain) What is -- what's your
  21   you that she -- after the attorney -- district            21   evidence? That's the question.
  22   attorney issued this report, that she was -- she          22               MR. GESSLER: I'll advise my client to
  23   recalled that she was involved in restarting the          23   decline to answer on Fifth Amendment grounds.
  24   system and, thus, causing the change in the               24         Q (By Mr. Cain) This report that we
  25   database?                                                 25   looked -- started to look at, Exhibit 4, as you

                                        Western Colorado Court Reporting (970)778-5711                     (32) Pages 125 - 128
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 34
                                    of 43
                                                TINA PETERS - November 7, 2022

                                                       Page 129                                                     Page 131
   1   pointed out, it's got pictures and it's lengthy and         1   have the cameras on, right?
   2   we're not going to go through it. But it does               2              MR. GESSLER: I'll advise my client to
   3   contain a summary at the end, and I just need your          3   decline to answer on Fifth Amendment grounds.
   4   input on your opinion, if you have one, based on            4         Q (By Mr. Cain) And you left the cameras on
   5   what the findings were. The district attorney               5   during that statutory period during the November
   6   summarizes his findings, and I will skip some of            6   2020 election, didn't you?
   7   the stuff that's just directly related -- well,             7              MR. GESSLER: I'll advise my client to
   8   it's short. Maybe I won't.                                  8   decline to answer on Fifth Amendment grounds.
   9               The first sentence says: The                    9         Q (By Mr. Cain) And those cameras actually
  10   investigation is being closed with no findings of          10   had been taken offline at your direction prior to
  11   probable cause that a crime was committed by any           11   the trusted build process, right?
  12   person.                                                    12              MR. GESSLER: I'll advise my client to
  13               And I'll just point you back to they were      13   decline to answer on Fifth Amendment grounds.
  14   looking at Sandra Brown's conduct during the               14         Q (By Mr. Cain) Whereas before, after you
  15   election to determine whether there's probable             15   took them offline, they had been online
  16   cause that she had done something in her role as           16   continuously previously, hadn't they?
  17   elections manager.                                         17              MR. GESSLER: I'll advise my client to
  18               He goes on to say: There appears to be         18   decline to answer on Fifth Amendment grounds.
  19   anomalies in the election logs caused by the               19         Q (By Mr. Cain) And you took them offline
  20   intentional actions of Sandra Brown, the elections         20   because you wanted to conceal the identity of
  21   manager for the Mesa County Clerk's office. No             21   Mr. Hayes appearing at your office to make the copy
  22   evidence exists that would indicate that Ms. Brown         22   that he made of the software, right?
  23   had any nefarious or criminal motive in those              23              MR. GESSLER: I'll advise my client to
  24   actions but, rather, appears to have been                  24   decline to answer on Fifth Amendment grounds.
  25   troubleshooting problems in the flow of the                25         Q (By Mr. Cain) Back to the summary. We

                                                    Page 130                                                         Page 132
   1   adjudication process during the elections.                  1   were talking about cameras and I said video
   2              Do you have any reason to doubt that             2   machines. The sentence says: These actions were
   3   conclusion, ma'am?                                          3   verified to have been done by her, meaning Ms.
   4              MR. GESSLER: I'll advise my client to            4   Brown, through video evidence, corroboration of
   5   decline to answer on Fifth Amendment grounds.               5   records, audit of randomly selected ballot images,
   6         Q (By Mr. Cain) Did you witness Sandra                6   interviews with witnesses and experts, and
   7   Brown doing anything that you thought was either            7   recreation of the certain scenarios using a test
   8   nefarious or potentially criminal in how she                8   election environment and prove that the conclusions
   9   conducted the election in November of 2020?                 9   of Report 3 -- meaning your consultants or those
  10              MR. GESSLER: I'll advise my client to           10   consultants, we'll call them -- the conclusions of
  11   decline to answer on Fifth Amendment grounds.              11   Report 3 are incorrect claims of what may have
  12         Q (By Mr. Cain) The district attorney goes           12   occurred.
  13   on to say: These actions were verified to have             13               Do you agree or disagree with that
  14   been done by her through video evidence -- I'll            14   statement?
  15   stop there.                                                15               MR. GESSLER: I'll advise my client not
  16              The video machines -- the cameras is            16   to answer on Fifth Amendment grounds.
  17   probably a better word. Video machines really              17         Q (By Mr. Cain) I mean, did your
  18   isn't a word, I don't think.                               18   consultants actually interview members of the
  19              Anyway, the cameras were on and recording       19   County Clerk's office as part of their work, do you
  20   during the period immediately prior to the election        20   know?
  21   and during the election and thereafter, right?             21               MR. GESSLER: I'll advise my client to
  22              MR. GESSLER: I'll advise my client to           22   decline to answer on Fifth Amendment grounds.
  23   decline to answer on Fifth Amendment grounds.              23         Q (By Mr. Cain) They didn't actually do
  24         Q (By Mr. Cain) I mean, you know that there          24   that, did they?
  25   is a period of time by state law that you have to          25               MR. GESSLER: I'll advise my client to

                                        Western Colorado Court Reporting (970)778-5711                      (33) Pages 129 - 132
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 35
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                      Page 133                                                       Page 135
   1   decline to answer on Fifth Amendment grounds.              1   the source of an outside hacker that somehow
   2         Q (By Mr. Cain) The summary of the report            2   manipulated the election results here in Mesa
   3   by the district attorney concludes by saying: At           3   County?
   4   this time, no evidence suggests that these actions         4              MR. GESSLER: I'll advise my client to
   5   negatively impacted the election -- referring back         5   decline to answer on Fifth Amendment grounds.
   6   again to what Ms. Brown was doing.                         6         Q (By Mr. Cain) And what about Mr.
   7               Do you have any reason to doubt that           7   Lindell's theory about Hammer and Scorecard in a
   8   conclusion?                                                8   foreign country, such as China, that's hacking into
   9               MR. GESSLER: I'll advise my client to          9   the American election? Have you had any
  10   decline to answer on Fifth Amendment grounds.             10   discussions with Mr. Lindell about that theory?
  11         Q (By Mr. Cain) I mean, there's -- I guess          11              MR. GESSLER: I'll advise my client to
  12   there's another -- I didn't even think about this.        12   decline to answer on Fifth Amendment grounds.
  13   There may be another theory of the case that --           13         Q (By Mr. Cain) Do you believe, as you sit
  14   that it wasn't Dr. Coomer that did something with         14   here today, that there's any validity to that?
  15   the databases remotely, because he wasn't there           15              MR. GESSLER: I'll advise my client to
  16   during the election, right, so he couldn't have           16   decline to answer on Fifth Amendment grounds.
  17   done it in person, true?                                  17         Q (By Mr. Cain) Have you seen any evidence
  18               MR. GESSLER: I'll advise my client to         18   or did you at the cyber symposium, whether it's
  19   decline to answer on Fifth Amendment grounds.             19   through an analysis of the PCAPs or otherwise, that
  20         Q (By Mr. Cain) Or any other Dominion               20   there were foreign actors that interfered in our
  21   official, they weren't on-site during the election        21   election, not just in Mesa County but anywhere in
  22   punching the keys, were they?                             22   the United States?
  23               MR. GESSLER: I'll advise my client to         23              MR. GESSLER: I'll advise my client to
  24   decline to answer on Fifth Amendment grounds.             24   decline to answer on Fifth Amendment grounds.
  25         Q (By Mr. Cain) So perhaps there's a theory         25         Q (By Mr. Cain) I mean, you have been very

                                                      Page 134                                                      Page 136
   1   that you hold that somehow it was Sandra Brown and         1   public about your concerns with the election, but
   2   not Dominion or not some remote actor that caused          2   it's more than just concerns. There is a claim
   3   some corruption of the databases or otherwise              3   that there was manipulation of the data, including
   4   changed votes.                                             4   here in Mesa County, and I just want to know
   5               Do you believe that?                           5   what -- what is the evidence of any of that?
   6               MR. GESSLER: I'll advise my client to          6   Please just tell me that.
   7   decline to answer on Fifth Amendment grounds.              7              MR. GESSLER: I'll advise my client to
   8         Q (By Mr. Cain) Or any other County                  8   decline to answer on Fifth Amendment grounds.
   9   employee -- former County employee that worked with        9         Q (By Mr. Cain) Why have you continued --
  10   you, do you believe any of them had something to do       10   given some of what we've discussed, looking at the
  11   with spoiling this gold standard election that you        11   report, your experience to date, why have you
  12   held?                                                     12   continued to make public appearances talking about
  13               MR. GESSLER: I'll advise my client to         13   the Mesa County election and your imaging of the
  14   decline to answer on Fifth Amendment grounds.             14   election server here in Mesa County? Why are you
  15         Q (By Mr. Cain) And what do you have in             15   continuing to speak publicly on that?
  16   terms of evidence of -- if any, of outside Internet       16              MR. GESSLER: I'll advise my client to
  17   traffic into your office; in other words, someone         17   decline to answer on Fifth Amendment grounds.
  18   logging on to a server that's connected to the            18         Q (By Mr. Cain) Because you're not
  19   Internet during the period where early voting             19   answering questions here today about it, but you're
  20   started through the election? What evidence do you        20   talking about it. You were talking about it on
  21   have of that?                                             21   September 24th of 2022 on a podcast.
  22               MR. GESSLER: I'll advise my client to         22              Do you remember that?
  23   decline to answer on Fifth Amendment grounds.             23              MR. GESSLER: I'll advise my client to
  24         Q (By Mr. Cain) Have your consultants given         24   decline to answer on Fifth Amendment grounds.
  25   you an IP address that they've triangulated to be         25         Q (By Mr. Cain) Let's -- let's look at the

                                        Western Colorado Court Reporting (970)778-5711                     (34) Pages 133 - 136
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 36
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                      Page 137                                                     Page 139
   1   one I'm thinking of, and I'll have a few follow-up         1   attorneys -- given that they may be someone who has
   2   questions.                                                 2   factual knowledge of these events, are you prepared
   3              MR. CAIN: Can we look at Clip 4.                3   to tell me who these two attorneys are?
   4              (Video playing.)                                4               MR. GESSLER: I'll advise my client to
   5              TINA PETERS: And then get this: This            5   decline to answer on Fifth Amendment grounds.
   6         gentleman, Gerald Wood, was at the symposium         6         Q (By Mr. Cain) Is one of them sitting in
   7         when all this broke. He sat in for hours with        7   this room?
   8         me and my two attorneys, and then he flew back       8               MR. GESSLER: I'll advise my client to
   9         to Grand Junction, to Mesa County, on Mike           9   decline to answer on Fifth Amendment grounds.
  10         Lindell's plane. Mike Lindell paid for his --       10         Q (By Mr. Cain) And why is it important for
  11         I mean, talked to all the people to look            11   you, at least if we take you at your word on this
  12         how -- how grateful he was. He talked to all        12   podcast, to suggest that Mr. Wood was consenting to
  13         the cyber experts at the symposium, and then        13   this arrangement to hide the identity of Mr. Hayes?
  14         he pretends like, Well, I was hoping to do          14               MR. GESSLER: I'll advise my client to
  15         work with Tina and then she took my badge and       15   decline to answer on Fifth Amendment grounds.
  16         never called me again. It's just --                 16         Q (By Mr. Cain) And was Mr. Lindell part of
  17              (Video stopped.)                               17   the discussions with Mr. Wood and Mr. Hayes about
  18         Q (By Mr. Cain) Okay. So that is you on             18   this identity change?
  19   some form of a podcast. Who is -- who's that              19               MR. GESSLER: I'll advise my client to
  20   person that you're talking to? I'm not familiar           20   decline to answer on Fifth Amendment grounds.
  21   with this one.                                            21               MR. CAIN: All right. Let's look at the
  22              MR. GESSLER: I'll advise my client to          22   next clip, Clip 5.
  23   decline to answer on Fifth Amendment grounds.             23               (Video playing.)
  24         Q (By Mr. Cain) Why did you decide to make          24               TINA PETERS: So there was -- there was a
  25   statements about Mr. Woods on this podcast?               25         gentleman that had -- there was a high-level

                                                     Page 138                                                      Page 140
   1              MR. GESSLER: I'll advise my client to           1        Top Hat forensic cyber expert, and he had
   2   decline to answer on Fifth Amendment grounds.              2        agreed to come in and do the image. The
   3        Q (By Mr. Cain) And is -- I said it's                 3        problem with it were two things: He had --
   4   Mr. Woods, and I keep going back and forth. It's           4        but he had just exposed a very -- a very
   5   Wood, singular, right?                                     5        high-profile, large organization that was an
   6              MR. GESSLER: I'll advise my client to           6        anti-trafficking organization called
   7   decline to answer on Fifth Amendment grounds.              7        (inaudible). He'd asked me -- he said if you
   8        Q (By Mr. Cain) In any event, do you have             8        will keep my identity secret, because at that
   9   any reason to doubt that you were talking about            9        point, he had -- it had just gone down. It
  10   Mr. Wood on September 24 of 2022?                         10        was pretty broad, you know, and these guys are
  11              MR. GESSLER: I'll advise my client to          11        not -- they don't play nice.
  12   decline to answer on Fifth Amendment grounds.             12              ZAK PAINE: Sure.
  13        Q (By Mr. Cain) And you did reference that           13              TINA PETERS: These human traffickers,
  14   Mr. Lindell, I believe you were saying, paid for          14        and I agreed to do that.
  15   him or provided transportation for him, at least,         15              (Video stopped.)
  16   back from the cyber symposium; is that true?              16        Q (By Mr. Cain) Okay. So you agreed -- if,
  17              MR. GESSLER: I'll advise my client to          17   again, we take you at your word -- to conceal the
  18   decline to answer on Fifth Amendment grounds.             18   identity of this Top Hat cyber expert, true?
  19        Q (By Mr. Cain) Do you know why Mr. Lindell          19              MR. GESSLER: I'll advise my client to
  20   would do that?                                            20   decline to answer on Fifth Amendment grounds.
  21              MR. GESSLER: I'll advise my client to          21        Q (By Mr. Cain) I think you said high-level
  22   decline to answer on Fifth Amendment grounds.             22   Top Hat, and that high-level Top Hat expert is the
  23        Q (By Mr. Cain) And you referenced these             23   Mr. Hayes we've been talking about, right?
  24   two attorneys, which is why I asked you earlier.          24              MR. GESSLER: I'll advise my client to
  25              Are you prepared to tell me which              25   decline to answer on Fifth Amendment grounds.

                                       Western Colorado Court Reporting (970)778-5711                     (35) Pages 137 - 140
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 37
                                    of 43
                                                TINA PETERS - November 7, 2022

                                                       Page 141                                                     Page 143
   1         Q (By Mr. Cain) He's the one that you gave            1      that. So that's exactly how that went down.
   2   us information on that suggested he exposed some            2      And -- and so -- but in this e-mail, she said
   3   human trafficking ring, right?                              3      when we get there, when Dominion Voting
   4               MR. GESSLER: I'll advise my client to           4      Systems and the Secretary of State employees
   5   decline to answer on Fifth Amendment grounds.               5      get there, if there's anybody in the room
   6         Q (By Mr. Cain) So in truth, Mr. Hayes is             6      that's not on this list, we will turn around,
   7   or was a surfer, wasn't he?                                 7      we will leave, and you will have to ship your
   8               MR. GESSLER: I'll advise my client to           8      equipment to us for us to do the trusted build
   9   decline to answer on Fifth Amendment grounds.               9      at your cost, and then turn around when we're
  10         Q (By Mr. Cain) I think he was a                     10      done and ship it back. And I thought there is
  11   professional surfer, right?                                11      no way I'm letting this election equipment
  12               MR. GESSLER: I'll advise my client to          12      leave and get into this criminal's hands. So
  13   decline to answer on Fifth Amendment grounds.              13      that's how that went down.
  14         Q (By Mr. Cain) And did he -- oh, no.                14            And so I'm being -- this whole
  15               MR. CAIN: Restaurant?                          15      indictment that -- we found out later that
  16               MR. KLOEWER: Clothing company.                 16      this man, his attorney, was -- was best
  17         Q (By Mr. Cain) Clothing company, right?             17      friends with this crooked DA and he had got
  18   You know that about him, too, right?                       18      him to flip on me and saying that I had stolen
  19               MR. GESSLER: I'll advise my client to          19      his identity, you know, and criminal
  20   decline to answer on Fifth Amendment grounds.              20      impersonation and all these kinds of things.
  21         Q (By Mr. Cain) What made you think he was           21      That's what the indictment's about.
  22   qualified -- taking aside the legalities of the            22            And then get this: This gentleman,
  23   situation -- to come into Mesa County and image the        23      Gerald Wood, was at the symposium when all
  24   election server hardware here or software?                 24      this broke. He sat in for hours with me and
  25               MR. GESSLER: I'll advise my client to          25      my two attorneys, and then he flew back to

                                                       Page 142                                                     Page 144
   1   decline to answer on Fifth Amendment grounds.               1      Grand Junction, to Mesa County, on Mike
   2         Q (By Mr. Cain) All right. You said even              2      Lindell's plane. Mike Lindell paid for his --
   3   more in this podcast. I have one more clip from             3      I mean, talked to all the people to look
   4   it. Let's look at it real quick. You said a lot             4      how -- how grateful he was. He talked to all
   5   more, but we don't have time, obviously, to go              5      the cyber experts at the symposium, and then
   6   through it all.                                             6      he pretends like, Well, I was hoping to do
   7               MR. CAIN: Let's look at Clip 6.                 7      work with Tina and then she took my badge and
   8               (Video playing.)                                8      never called me again. It's just -- it's
   9               TINA PETERS: I could have had him in            9      craziness. Craziness.
  10         there. The only thing is the Secretary of            10            ZAK PAINE: This was -- this was one of
  11         State had sent an e-mail because she was so          11      the most shocking things for me to hear in
  12         paranoid about this -- about people knowing          12      Selection Code, because it means that
  13         what she was doing. She sent out an e-mail           13      virtually the entirety of this indictment
  14         that said when we get there, if there are            14      against you is a complete fiction. It's
  15         people other than -- other than me and the           15      completely made up and I just -- knowing the
  16         employees -- in my case, it was two employees;       16      deep-rooted connection that this man had to
  17         in other counties, you can have eight, and           17      everything that was going on in a positive
  18         myself. If anyone other than the employees           18      way. Knowing that he flipped and is telling
  19         that you have said are going to be there -- so       19      this lie and you may end up in some serious
  20         we had to let them know five days in advance         20      trouble as a result of it, I mean that's
  21         what employees were going to be there for this       21      just -- that's horrific. You're at the mercy
  22         trusted build.                                       22      of someone who is being completely dishonest.
  23               So Gerald Wood stepped up and said I will      23            And, you know, so my question is, you
  24         do this for my country. I will give my name          24      know, how are we going to prove or can we -- I
  25         and I will go get the badge and you can use          25      don't know if you can talk about that, I mean,

                                        Western Colorado Court Reporting (970)778-5711                    (36) Pages 141 - 144
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 38
                                    of 43
                                           TINA PETERS - November 7, 2022

                                                 Page 145                                                      Page 147
   1     because this is probably going to deal with          1   of people you referred to on this, you talked about
   2     your defense. But is there a way that we can         2   the crooked district attorney.
   3     prove that what he's saying didn't actually          3               That was referring to Mr. Rubinstein,
   4     happen? I mean, is there anything that we can        4   right?
   5     put out there or that we can present to show         5               MR. GESSLER: I'll advise my client to
   6     that he's lying?                                     6   decline to answer on Fifth Amendment grounds.
   7           TINA PETERS: Well, there were plenty of        7         Q (By Mr. Cain) And then you said -- by the
   8     witnesses there.                                     8   way, looking at this, were you in Colorado?
   9           ZAK PAINE: Okay.                               9   Doesn't matter what town, but were you physically
  10           TINA PETERS: There were plenty of             10   in Colorado when you were making these statements?
  11     witnesses that were on the plane with him.          11               MR. GESSLER: I'll advise my client to
  12     Joe Oltmann was on the plane with him and he        12   decline to answer on Fifth Amendment grounds.
  13     was bragging to Joe Oltmann about how -- how        13         Q (By Mr. Cain) And the other gentleman --
  14     he was so proud to be doing this for his            14   well, I said the other gentleman.
  15     country and all of this, so -- you know, and        15               The gentleman on the screen, do you know
  16     Mike Lindell was paying for his attorney.           16   whether he was physically in Colorado or not when
  17           ZAK PAINE: Uh-huh.                            17   you were having this interview?
  18           TINA PETERS: You know, I mean, Mike           18               MR. GESSLER: I'll advise my client to
  19     Lindell is a patriot.                               19   decline to answer on Fifth Amendment grounds.
  20           ZAK PAINE: He is.                             20         Q (By Mr. Cain) In other words, was he in a
  21           TINA PETERS: He has spent $35 million of      21   different state from you at the time you were
  22     his own money to -- to protect the integrity        22   making these statements?
  23     of our elections, to expose the problems so         23               MR. GESSLER: I'll advise my client to
  24     they can be fixed with these elections. And         24   decline to answer on Fifth Amendment grounds.
  25     here this man turns around and changes his          25         Q (By Mr. Cain) And the purpose of you

                                                  Page 146                                                    Page 148
   1     story. You know, who knows what he was               1   making these statements or appearing on this show,
   2     promised or who knows what he was threatened         2   in part, was, I gather from your comments, to
   3     with.                                                3   promote the Selection Code video that had come out
   4            ZAK PAINE: That was my next question.         4   or was coming out; is that true?
   5     You know, I mean, like what possibly could           5              MR. GESSLER: I'll advise my client to
   6     they have done to him. I mean either by              6   decline to answer on Fifth Amendment grounds.
   7     promising, you know, wealth, riches, or, you         7        Q (By Mr. Cain) And when you said there
   8     know, who knows what or by threatening to put        8   were plenty of witnesses, people on the plane, I
   9     him in prison. I mean -- so, I mean, this is         9   want to know who was on that plane and whether you
  10     an officially sanctioned activity that you, as      10   were as well.
  11     the Mesa County Clerk and Recorder, have the        11              MR. GESSLER: Is that a question?
  12     legal right and responsibility to do.               12        Q (By Mr. Cain) You can answer. Yeah.
  13            TINA PETERS: Right.                          13   Question mark.
  14            ZAK PAINE: And you are bringing him in,      14              MR. GESSLER: I'll advise my client to
  15     making him part of the team. It's official.         15   decline to answer on Fifth Amendment grounds.
  16     All right. And, you know, who better to do it       16        Q (By Mr. Cain) And this idea that Mike
  17     than somebody with his credentials. You know,       17   Lindell was paying for Gerald Wood's attorney, how
  18     so perhaps they might have threatened him or        18   do you know that?
  19     his family or something like that. I don't          19              MR. GESSLER: I'll advise my client to
  20     know. Hopefully he'll end up testifying in          20   decline to answer on Fifth Amendment grounds.
  21     the trial and perhaps he can perjure himself a      21        Q (By Mr. Cain) Mr. Lindell would have told
  22     little bit more.                                    22   you that directly, right?
  23            TINA PETERS: Uh-huh, uh-huh.                 23              MR. GESSLER: I'll advise my client to
  24            (Video stopped.)                             24   decline to answer on Fifth Amendment grounds.
  25     Q (By Mr. Cain) So the -- just the lineup           25        Q (By Mr. Cain) And I suspect he's not

                                    Western Colorado Court Reporting (970)778-5711                    (37) Pages 145 - 148
                                         www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 39
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                    Page 149                                                       Page 151
   1   doing that anymore, right?                                1        Q (By Mr. Cain) Mr. Lindell is reported to
   2               MR. GESSLER: I'll advise my client to         2   have flown several Coloradans with the U.S.
   3   decline to answer on Fifth Amendment grounds.             3   Election Integrity Project back to Colorado on his
   4         Q (By Mr. Cain) And the Secretary of State          4   private jet after four days in Tennessee.
   5   that you referred to, you mentioned, who was that         5               Are you affiliated with the USEIP at all?
   6   at the time?                                              6               MR. GESSLER: I'll advise my client to
   7               MR. GESSLER: I'll advise my client to         7   decline to answer on Fifth Amendment grounds.
   8   decline to answer on Fifth Amendment grounds.             8        Q (By Mr. Cain) Do you know -- well, did
   9         Q (By Mr. Cain) Have you appeared on any            9   you spend any time with -- based on this reporting
  10   other podcasts or shows like Conservative Daily          10   and presuming it happened, did you spend any time
  11   since this podcast occurred where you discussed          11   in Tennessee with anybody associated with that
  12   either the election being rigged or your legal           12   project in November of 2021?
  13   troubles here in Mesa County?                            13               MR. GESSLER: I'll advise my client to
  14               MR. GESSLER: I'll advise my client to        14   decline to answer on Fifth Amendment grounds.
  15   decline to answer on Fifth Amendment grounds.            15        Q (By Mr. Cain) Do you know Ash Epp, for
  16         Q (By Mr. Cain) The other comment on that          16   example?
  17   last clip that struck me was your statement that         17               MR. GESSLER: I'll advise my client to
  18   Mike Lindell had paid about $35 million as of that       18   decline to answer on Fifth Amendment grounds.
  19   point dealing with some of these issues, election        19        Q (By Mr. Cain) Holly Kasun?
  20   issues.                                                  20               MR. GESSLER: I'll advise my client to
  21               How do you know that?                        21   decline to answer on Fifth Amendment grounds.
  22               MR. GESSLER: I'll advise my client to        22               MR. CAIN: That's K-A-S-U-N.
  23   decline to answer on Fifth Amendment grounds.            23        Q (By Mr. Cain) Do you know Shawn Smith?
  24         Q (By Mr. Cain) And I believe -- Mr.               24               MR. GESSLER: I'll advise my client to
  25   Kloewer can correct me if I'm wrong -- Mr. Lindell       25   decline to answer on Fifth Amendment grounds.

                                                     Page 150                                                      Page 152
   1   has been quoted as saying he's given $800,000 for         1         Q (By Mr. Cain) Are you associated in any
   2   Tina Peters' legal defense fund; is that true?            2   way with the organization Cause of America?
   3               MR. GESSLER: I'll advise my client to         3               MR. GESSLER: I'll advise my client to
   4   decline to answer on Fifth Amendment grounds.             4   decline to answer on Fifth Amendment grounds.
   5         Q (By Mr. Cain) All right. After -- so              5         Q (By Mr. Cain) Have you attended any
   6   right now we're kind of talking about stuff that          6   rallies that were put on by a group called FEC
   7   happened after the election. There was reporting          7   United?
   8   that Mr. Lindell flew you out to Texas to get away        8               MR. GESSLER: I'll advise my client to
   9   from the Secretary of State investigation, or words       9   decline to answer on Fifth Amendment grounds.
  10   to that effect. There was an article on Vice, is         10         Q (By Mr. Cain) And you know that group is
  11   the one I'm referring to.                                11   associated with Joe Oltmann, don't you?
  12               Is that true? Did you do that?               12               MR. GESSLER: I'll advise my client to
  13               MR. GESSLER: I'll advise my client to        13   decline to answer on Fifth Amendment grounds.
  14   decline to answer on Fifth Amendment grounds.            14         Q (By Mr. Cain) And just to wrap up
  15         Q (By Mr. Cain) And if so, why did you go          15   Mr. Oltmann maybe for this deposition, has he --
  16   to Texas?                                                16   well, strike that.
  17               MR. GESSLER: I'll advise my client to        17               Have you provided, through your campaign,
  18   decline to answer on Fifth Amendment grounds.            18   money to a group called PIN Business Network, Inc.?
  19         Q (By Mr. Cain) But then you had to leave          19               MR. GESSLER: I'll advise my client to
  20   after just a few days because someone in the             20   decline to answer on Fifth Amendment grounds.
  21   security team, I guess, let it out where your            21         Q (By Mr. Cain) I mean, your campaign spent
  22   location was.                                            22   $50,000 with that organization, didn't it? 50,000.
  23               Do you remember that happening?              23               MR. GESSLER: I'll advise my client to
  24               MR. GESSLER: I'll advise my client to        24   decline to answer on Fifth Amendment grounds.
  25   decline to answer on Fifth Amendment grounds.            25         Q (By Mr. Cain) The ostensible purpose of

                                       Western Colorado Court Reporting (970)778-5711                     (38) Pages 149 - 152
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 40
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                     Page 153                                                     Page 155
   1   that was to market -- to provide it, quote-unquote,        1              MR. GESSLER: I'll advise my client to
   2   Internet advertising. At least that's what the             2   decline to answer on Fifth Amendment grounds.
   3   disclosure says, right?                                    3         Q (By Mr. Cain) And have you made, either
   4              MR. GESSLER: I'll advise my client to           4   directly or through a campaign committee or other
   5   decline to answer on Fifth Amendment grounds.              5   venture, any other financial payments to Joe
   6        Q (By Mr. Cain) I mean, you have to report            6   Oltmann or entities associated with Joe Oltmann?
   7   those contributions and expenditures, don't you, by        7              MR. GESSLER: I'll advise my client to
   8   state law?                                                 8   decline to answer on Fifth Amendment grounds.
   9              MR. GESSLER: I'll advise my client to           9         Q (By Mr. Cain) And had you provided
  10   decline to answer on Fifth Amendment grounds.             10   through a campaign or personally -- provided is the
  11        Q (By Mr. Cain) So what did PIN Business             11   wrong word. I'll use a different verb.
  12   Network -- well, strike that.                             12              Had you paid any business associated with
  13              That group or that organization, it's          13   Joe Oltmann any consideration prior to that date
  14   actually a corporation, is owned in part by               14   range that I just showed you? In other words, I'm
  15   Mr. Oltmann, right?                                       15   asking you: Was there a financial relationship
  16              MR. GESSLER: I'll advise my client to          16   before this 50,000-dollar campaign contribution
  17   decline to answer on Fifth Amendment grounds.             17   occurred?
  18        Q (By Mr. Cain) The same Mr. Oltmann whose           18              MR. GESSLER: I'll advise my client to
  19   statements you have been repeating publicly about         19   decline to answer on Fifth Amendment grounds.
  20   Dr. Coomer, right?                                        20         Q (By Mr. Cain) Did Mr. Lindell or any
  21              MR. GESSLER: I'll advise my client to          21   entity associated with him contribute to your
  22   decline to answer on Fifth Amendment grounds.             22   campaign for -- during the primary for Secretary of
  23        Q (By Mr. Cain) So what did PIN Business             23   State?
  24   Network do for your campaign for $50,000?                 24              MR. GESSLER: I'll advise my client to
  25              MR. GESSLER: I'll advise my client to          25   decline to answer on Fifth Amendment grounds.

                                                      Page 154                                                      Page 156
   1   decline to answer on Fifth Amendment grounds.              1          Q (By Mr. Cain) Or for your prior campaign
   2         Q (By Mr. Cain) According to the                     2   when you were elected to Mesa County Clerk?
   3   expenditure detail published by the State, there           3                MR. GESSLER: I'll advise my client to
   4   was a one-month period of time from May 27th of            4   decline to answer on Fifth Amendment grounds.
   5   2022 to June 28th of 2022 where these so-called            5          Q (By Mr. Cain) All right. Good news and
   6   services were provided; is that true?                      6   bad news. The good news is I'm going to be a lot
   7               MR. GESSLER: I'll advise my client to          7   shorter than I represented before lunch. The bad
   8   decline to answer on Fifth Amendment grounds.              8   news is I need to take a break and we have one more
   9         Q (By Mr. Cain) We've looked for this                9   segment, but that should be a short segment, so you
  10   advertising online to see if we could tie it up but       10   can take that as you want.
  11   have not been able to find anything like $50,000          11                MR. CAIN: But if you don't mind, let's
  12   worth of Internet advertising. I want you to              12   go off the record.
  13   explain to the jury what that advertising was, what       13                MR. GESSLER: Okay.
  14   it looked like, and what PIN Business Network did         14                THE VIDEOGRAPHER: The time is 2:49.
  15   for you or your campaign.                                 15   We're off the record.
  16               MR. GESSLER: That's not a question.           16                (Recess taken.)
  17               MR. CAIN: Question mark.                      17                THE VIDEOGRAPHER: The time is 3:10.
  18               MR. GESSLER: It's still not a question.       18   We're back on the record.
  19               MR. CAIN: Read it back. I can't               19          Q (By Mr. Cain) Ms. Peters, like I said
  20   remember it. It was probably too long anyway. Let         20   before, I have just a few more questions and we
  21   me do this. I'll make it a little more succinct.          21   should be able to get out of here. Some of them
  22   Fingers crossed.                                          22   involve at least potential witnesses in this case.
  23         Q (By Mr. Cain) What did PIN Business               23   I'd like to know your association with them or not.
  24   Network do during the period of time I mentioned          24                On or about March 7th of this year, you
  25   that constituted $50,000 in Internet advertising?         25   appeared on the Conservative Daily -- we didn't

                                        Western Colorado Court Reporting (970)778-5711                     (39) Pages 153 - 156
                                             www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 41
                                    of 43
                                              TINA PETERS - November 7, 2022

                                                    Page 157                                                      Page 159
   1   look at the clip -- to discuss the Mesa County           1   event is when Mr. Lindell was served with my
   2   forensic examination and analysis report written by      2   lawsuit.
   3   Doug Gould, G-O-U-L D. I believe this was the            3               Do you remember that?
   4   second report.                                           4               MR. GESSLER: I'll advise my client to
   5              Who is Mr. Gould?                             5   decline to answer on Fifth Amendment grounds.
   6              MR. GESSLER: I'll advise my client to         6        Q (By Mr. Cain) And were you there when
   7   decline to answer on Fifth Amendment grounds.            7   Mr. Lindell spoke? I think he spoke after you.
   8         Q (By Mr. Cain) And kind of similar to the         8               MR. GESSLER: I'll advise my client to
   9   other questions, do you know, as you sit here, who       9   decline to answer on Fifth Amendment grounds.
  10   was paying Mr. Gould to provide an examination and      10        Q (By Mr. Cain) And did you hear
  11   analysis report?                                        11   Mr. Lindell discuss Dr. Coomer?
  12              MR. GESSLER: I'll advise my client to        12               MR. GESSLER: I'll advise my client to
  13   decline to answer on Fifth Amendment grounds.           13   decline to answer on Fifth Amendment grounds.
  14         Q (By Mr. Cain) Was Mr. Lindell involved in       14        Q (By Mr. Cain) And repeat some of the
  15   that second report?                                     15   statements -- defamatory statements that we allege
  16              MR. GESSLER: I'll advise my client to        16   have harmed Dr. Coomer in this case. Did you hear
  17   decline to answer on Fifth Amendment grounds.           17   those statements?
  18         Q (By Mr. Cain) On the podcast, Mr. Oltmann       18               MR. GESSLER: I'll advise my client to
  19   noted that Doug Gould is a consultant for ASOG, and     19   decline to answer on Fifth Amendment grounds.
  20   ASOG is retained by the Tina Peters legal defense       20        Q (By Mr. Cain) And after that lawsuit was
  21   team; is that true?                                     21   served on Mr. Lindell at that rally, did you have
  22              MR. GESSLER: I'll advise my client to        22   any discussions with Mr. Lindell about Dr. Coomer
  23   decline to answer on Fifth Amendment grounds.           23   and the filing of this suit?
  24         Q (By Mr. Cain) Have you had any other            24               MR. GESSLER: I'll advise my client to
  25   associations with Mr. Gould prior to the second         25   decline to answer on Fifth Amendment grounds.

                                                    Page 158                                                     Page 160
   1   forensic examination and analysis report?                1        Q (By Mr. Cain) Did you have any
   2               MR. GESSLER: I'll advise my client to        2   discussions with Mr. Lindell about the fact that
   3   decline to answer on Fifth Amendment grounds.            3   you may end up being a witness in his lawsuit?
   4         Q (By Mr. Cain) And that appearance on the         4              MR. GESSLER: I'll advise my client to
   5   Conservative Daily was on or about, as I said,           5   decline to answer on Fifth Amendment grounds.
   6   March 7th, which was two days before your                6        Q (By Mr. Cain) And I'm talking timing
   7   indictment on March 9 of 2022. And then the next         7   again. When I -- when I mentioned the April 5th
   8   month, April of 2022, is when Mike Lindell held the      8   date, part of what I want to know is: Between that
   9   rally at the steps of the Capitol.                       9   point and now, have you had any discussions with
  10               Were you there in person at Mike            10   Mr. Lindell about your testimony -- giving
  11   Lindell's rally?                                        11   testimony on his behalf in this case?
  12               MR. GESSLER: I'll advise my client to       12              MR. GESSLER: I'll advise my client to
  13   decline to answer on Fifth Amendment grounds.           13   decline to answer on Fifth Amendment grounds.
  14         Q (By Mr. Cain) Did Mike Lindell -- well,         14        Q (By Mr. Cain) Did Mr. Lindell ever advise
  15   did you have any discussions with Mr. Lindell about     15   you not to respond to my questions here today? Did
  16   supporting your then-candidacy by appearing with        16   you-all have that discussion where the subject of
  17   you on the steps of the Capitol on April 5th of         17   whether you would be responsive to my questions
  18   2022?                                                   18   came up?
  19               MR. GESSLER: I'll advise my client to       19              MR. GESSLER: I'll advise my client to
  20   decline to answer on Fifth Amendment grounds.           20   decline to answer on Fifth Amendment grounds.
  21         Q (By Mr. Cain) And you did -- you did make       21        Q (By Mr. Cain) Do you share any attorneys
  22   a speech there, didn't you?                             22   with Mr. Lindell? In other words, do they
  23               MR. GESSLER: I'll advise my client to       23   represent him on matters that you're also
  24   decline to answer on Fifth Amendment grounds.           24   represented by the same firm or lawyers?
  25         Q (By Mr. Cain) And you recall that at that       25              MR. GESSLER: I'll advise my client to

                                      Western Colorado Court Reporting (970)778-5711                     (40) Pages 157 - 160
                                           www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 42
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                     Page 161                                                        Page 163
   1   decline to answer on Fifth Amendment grounds.             1              MR. GESSLER: I'll advise my client to
   2        Q (By Mr. Cain) Other potential witnesses            2   decline to answer on Fifth Amendment grounds.
   3   include Mike Flynn.                                       3         Q (By Mr. Cain) Have you had any
   4              Do you know Mr. Flynn?                         4   discussions -- we'll call him Steve -- with Steve
   5              MR. GESSLER: I'll advise my client to          5   about election integrity issues -- I'm going to
   6   decline to answer on Fifth Amendment grounds.             6   lengthen this a little bit to shorten -- hopefully
   7        Q (By Mr. Cain) Have you had any                     7   shorten it -- election integrity issues, Dominion
   8   discussions with Mr. Flynn about election integrity       8   Voting Systems, Dr. Coomer, or any films that Steve
   9   issues and specifically either Dr. Coomer or              9   may have produced about those topics?
  10   Dominion Voting Systems?                                 10              MR. GESSLER: I'll advise my client to
  11              MR. GESSLER: I'll advise my client to         11   decline to answer on Fifth Amendment grounds.
  12   decline to answer on Fifth Amendment grounds.            12         Q (By Mr. Cain) Do you know who The America
  13        Q (By Mr. Cain) Now, Mr. Flynn is appearing         13   Project is?
  14   on the Reawaken America tour.                            14              MR. GESSLER: I'll advise my client to
  15              Have you appeared on that tour yourself?      15   decline to answer on Fifth Amendment grounds.
  16              MR. GESSLER: I'll advise my client to         16         Q (By Mr. Cain) Are you familiar with a
  17   decline to answer on Fifth Amendment grounds.            17   contribution by The America Project to the Citizens
  18        Q (By Mr. Cain) Are you being                       18   for Election Integrity?
  19   compensated -- let's say outside of whatever             19              MR. GESSLER: I'll advise my client to
  20   potential money that you're still receiving from         20   decline to answer on Fifth Amendment grounds.
  21   the County, but are you being compensated by the         21         Q (By Mr. Cain) Did you have any
  22   Reawaken America tour for any appearances?               22   discussions with this group -- it may be a PAC, I'm
  23              MR. GESSLER: I'll advise my client to         23   not sure, but the group Citizens for Election
  24   decline to answer on Fifth Amendment grounds.            24   Integrity?
  25        Q (By Mr. Cain) And let me broaden that.            25              MR. GESSLER: I'll advise my client to

                                                    Page 162                                                         Page 164
   1   After you've made these allegations of election           1   decline to answer on Fifth Amendment grounds.
   2   irregularities, have you received money from any of       2         Q (By Mr. Cain) Isn't it true that The
   3   these tours, whether it's the symposium, Reawaken         3   America Project made one donation to that group for
   4   America, or similar tours?                                4   the purpose of, quote, running attack ads on Pam
   5               MR. GESSLER: I'll advise my client to         5   Anderson, close quote?
   6   decline to answer on Fifth Amendment grounds.             6                MR. GESSLER: I'll advise my client to
   7         Q (By Mr. Cain) Joe Flynn. Do you know              7   decline to answer on Fifth Amendment grounds.
   8   Mr. -- the other Mr. Flynn?                               8         Q (By Mr. Cain) And are you familiar with
   9               MR. GESSLER: I'll advise my client to         9   the attack ads that that group ran as a result of
  10   decline to answer on Fifth Amendment grounds.            10   this contribution?
  11         Q (By Mr. Cain) Have you had any                   11                MR. GESSLER: I'll advise my client to
  12   discussions with Mr. Flynn, Joe Flynn, about             12   decline to answer on Fifth Amendment grounds.
  13   election integrity issues, including any aspect of       13         Q (By Mr. Cain) I think we've covered at
  14   Dominion Voting Systems or Dr. Coomer's role in the      14   least the questions -- most of the questions that I
  15   election?                                                15   had for you. Earlier -- well, actually, before I
  16               MR. GESSLER: I'll advise my client to        16   ask that question -- he gave me a note.
  17   decline to answer on Fifth Amendment grounds.            17                As it relates to Mr. Oltmann, I asked you
  18         Q (By Mr. Cain) This name's a little harder        18   earlier -- there was an objection to it or advice
  19   for me. Steve Lucescu, are you familiar with that        19   from your counsel not to answer, but I asked you
  20   person?                                                  20   something to the effect of had you had any
  21               MR. GESSLER: I'll advise my client to        21   discussions with Mr. Oltmann about giving a
  22   decline to answer on Fifth Amendment grounds.            22   deposition here today, and you were instructed not
  23         Q (By Mr. Cain) I'll spell the last name if        23   to answer that.
  24   that helps, because I'm sure I butchered it.             24                Has Mr. Oltmann directed you not to
  25   L-U-C-E-S-C-U, do you know him?                          25   respond to my questions in any way, made a request

                                       Western Colorado Court Reporting (970)778-5711                      (41) Pages 161 - 164
                                            www.WesternColoradoReporting.com
Case No. 1:22-cv-01129-NYW-SKC Document 97-2 filed 02/02/23 USDC Colorado pg 43
                                    of 43
                                               TINA PETERS - November 7, 2022

                                                     Page 165                                                        Page 167
  1    or a direction to you not to be responsive to me         1    STATE OF COLORADO)
  2    today?                                                   2               )ss. REPORTER'S CERTIFICATE
  3               MR. GESSLER: I'll advise my client to         3    COUNTY OF MESA )
  4    decline to answer on Fifth Amendment grounds.            4         I, Candice F. Flowers, do hereby certify that
  5          Q (By Mr. Cain) I also -- I think you              5    I am a Certified Shorthand Reporter and Notary
  6    started to answer a question when I quoted               6    Public within the State of Colorado; that previous
  7    Congressman Crenshaw talking about the election was      7    to the commencement of the examination, the
  8    always a lie or words to that effect.                    8    deponent was duly sworn to testify to the truth.
  9               Has -- has Mr. Lindell ever told you that     9         I further certify that this deposition was
  10   he's aware that the election fraud allegations are       10   taken in shorthand by me at the time and place
  11   false, they're a lie?                                    11   herein set forth, that it was thereafter reduced to
  12              MR. GESSLER: I'll advise my client to         12   typewritten form, and that the foregoing
  13   decline to answer on Fifth Amendment grounds.            13   constitutes a true and correct transcript.
  14         Q (By Mr. Cain) Well, ma'am, other than the        14        I further certify that I am not related to,
  15   content of my questions, which you may or may not        15   employed by, nor counsel for any of the parties or
  16   have enjoyed or liked, have I been professional to       16   attorneys herein, nor otherwise interested in the
  17   you and polite?                                          17   result of the within action.
  18              MR. GESSLER: I'll advise my client to         18        In witness whereof, I have affixed my
  19   decline to answer on Fifth Amendment grounds.            19   signature this 20th day of November, 2022.
  20              MR. CAIN: I'll take it as a yes. Thank        20        My commission expires February 14, 2024.
  21   you. I appreciate your time. That's all the              21
  22   questions I have.                                        22
  23              THE DEPONENT: Thank you.                      23                           ________________________
                                                                                             Candice F. Flowers, CSR
  24              THE VIDEOGRAPHER: Okay. So this               24                           671 Alexia Court
                                                                                             Grand Junction, CO 81505
  25   concludes the day's proceedings of the video             25

                                                   Page 166
  1    deposition of Tina Peters consisting of an
  2    approximate running time of three hours and ten
  3    minutes. The time is 3:21. We're off the record.
  4              (Proceedings concluded at 3:21 p.m.)
  5              (Reading and signing not requested.)
  6
  7
  8
  9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25

                                       Western Colorado Court Reporting (970)778-5711                      (42) Pages 165 - 167
                                            www.WesternColoradoReporting.com
